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EXHIBIT A
Case 2:10-cv-02366-BBD-cgc Document 1-1

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(1}

Indian Harbor Insurance Company

70 Seaview Ave, Stamford, CT 06902
Home Office: 1201 North Market Street, Suite 501, Wilmington, DE 19801

Please forward correspondence and claims to our Administrative Office: WKF&C Agency, Inc.
One Huntington Quadrangle

Suite 4N20
Melville, NY 11747

COMMERCIAL PROPERTY POLICY
COMMON POLICY DECLARATIONS

POLICY NUMBER MUST APPEAR ON ALL
CORRESPONDENCE

Policy Number

FCI 005 3063

POLICY PERIOD

At 12:01 A.M. Standard

Effective Date Expiration Date

05/01/2009

05/01/2010

Time at your Mailing
Address Shown Below.

RENEWAL OF NUMBER

Account Number

NAMED INSURED AND ADDRESS

Winbranch |, LLC

c/o Alterra Capital Group
1001 Brickell Bay Dr S 2502
Miami, FL 33131

BUSINESS DESCRIPTIONS:

APARTMENT BUILDING OPERATORS

In return for the payment of the premium and subject to all the terms of this policy, the company indicated above agrees to
provide the insurance stated in this policy.

PREMIUM SUMMARY:

PRODUCER NAME AND ADDRESS
Peachtree Special Risk Brokers, LLC - Atl.

3496 Piedmont Road
Suite 1100

Atlanta, GA 30305
Phone: 404-467-6430

to adjustment.

Florida Premium

A Fee of $4.00 applies To the EMPA
Trust Fund for All Florida Policies.

Commercial Property Coverage Non-Terrorism Part
Commercial Property Coverage Terrorism Part
Commercial Inland Marine Coverage Non-Terrorism Part
Commercial Intand Marine Coverage Terrorism Part
Commercial Crime Coverage Part

Commerical Auto Coverage Part

Garage Coverage Part

The Hurricane Catastrophe Fund
Assessment Fee of 1% Applies To All

This policy consists of the following coverage parts for which a premium is indicated. This premium may be subject

$149,000.00

Not Taken

$0.00

$0.00

$0.00

$0.00

$0.00

Inspection Fee

$500.00

MGA Service Fee

$200.00

Minimum Earned %

25.00%

TOTAL

$149,700.00

FORM(S) AND ENDORSEMENT(S) MADE A PART OF THIS POLICY AT TIME OF ISSUE*

Poleonacs Cohn Sian

“Omits applicable forms and endorsements if shown in specific Coverage Part/Coverage Form Declarations.

Authorized Signature

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COMMERCIAL PROPERTY COVERAGE PART DECLARATIONS

kt

Policy No.:FC! 005 3063 Effective Date:5/1/2009
12:01 A.M. Standard Time
_NAMED INSURED: Winbranch Il, LLC

DESCRIPTION OF PREMISES:
PREM/BLDG NO LOCATION, CONSTRUCTION AND OCCUPANCY

See Location Schedule attached

COVERAGES PROVIDED -Insurance at the described premises applies only for which a limit of insurance Is shown
PREM/BLDG NO CODE COVERAGE LIMIT OF INSURANCE ACVIRC™ COVERED CAUSES OFLOSS  COINSURANCE” RATES

See Location Schedule attached

*RC means Replacement Cost_**Extra Expense Coverage, Limits an Loss Payment

OPTIONAL COVERAGES - Applicable only when entries are made in the schedule below

PREM/BLDGNO CODE COVERAGE LIMIT OF INSURANCE COVERED CAUSES OF LOSS COINSURANCE* RATES
“MONTHLY LIMIT OF MAXIMUM PERIOD “EXTENDED PERIOD
PREM/BLDG NO INDEMNITY(FRAGTION) OF INDEMNITY (4) OF INDEMNITY (DAYS)

*RC means Replacement Cost_**Extra Expense Goverage, Limits on Loss Payment_***Applies To Business Income Only

MORTGAGE HOLDERS
PREM/BLDG NO MORTGAGE HOLDER NAME AND MAILING ADDRESS

See Mortgagee Schedule attached*

*If no schedule attached, no mortgagees apply

DEDUCTIBLE: $10,000.00 - Other Deductibles May Apply See Attached Endorsements

FORMS AND ENDORSEMENTS (other than applicable Forms and Endorsements shown elsewhere in the policy):
Forms and Endorsements applying to this Coverage Part and made part of this policy at time of issue: See Form Schedule

attached

Coverage Exception
Applicable only to Specific Prem No. Bldg. No. Coverages Form Numbers

Premises/Coverages

PREMIUM
Minimum Premium for this Coverage Part: 25 %

Premium for this Coverage Part $149,000.00

“Inclusion of Date Optional
THESE DECLARATIONS ARE PART OF THE POLICY DECLARATIONS CONTAINING THE
NAME OF THIS INSURED AND THE POLICY PERIOD

CF 15 00 06 03
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Schedule of Forms

Named insured Winbranch II, LLC

Policy No: FCI 005 3063 Indian Harbor Insurance Company

Form Name

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Form Edition No

Declarations Page

Supplemental Declarations

Schedule of Forms

Location Schedule

Additional Interests

Named Insured Schedule

Building & Personal Property Coverage Form
Business Income (And Extra Expense) Coverage Form
Commercial Property Conditions

Common Policy Conditions

Certain Computer Related Loss Exclusion

Causes of Loss - Special Form

Tennessee Changes - Cancellation and Nonrenewal
Exclusion of Certified acts of Terrorism

Multiple Deductible Form

Ordinance or Law Coverage

Foreign Assets Control Notice to Policy Holders-XL
Service of Process

Minimum Earned Premium

Flood and Earthquake Endorsement

Pollution and Contamination Exclusion

Occurrence Limit of Liability

Disclosure Pursuant to Terrorism Risk Insurance Act
tn Witness Endorsement

Asbestos Material Exclusion

Protective Safeguards - Locked and Secured

Notice to Policy Holders-XL

Privacy Notice To Policy Holders-XL

Fraud Notice To Policy Holders-XL

Notice to Policyholders-Tennessee

Forms

Dec Page
CF 15 00 06 03
Forms

Locsched (Fi 8/95)

Moritsch (Fi)
NamedIinsured
CP0010 0607
CP00300607
CP00900788
{L00171198
ILO9350702
CP10300607
CP02970296
1L09530108
CP03201092
CP04050402
PN CW 05 0106
IHIC-SOP-(05/01)
WK 64 64 10 07
WK 53 67 04 08
Wik 76 55 10 07
WK 62 28 10 07
ILO9850108
ILMP$1041208/HIC
WK 27 23 10 07
WK CP 03 11 08
PNCWO030505
PN CW 02 0505
PN CW 01 0505
PN 01 01 07
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Named Insured:
Policy Effective Date:
Policy Expiration Date:

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MORTGAGEE / ADDITIONAL INTERESTS

Winbranch tl, LLC
05/01/2009
05/01/2010

This endorsement effective: 12:07 AM 05/01/2009

Interest Type(s)

Interest

forms a part of Policy No: FCI 005 3063

Mortgagee

Mortgagee

Wachovia Bank Charlotte

PO Box 563956
Charlotte, NC 28256

As respects:
Loc# 7 Bldg# 1

Imperial Capital Bank
PO Box 29096
Glendale, CA 91209
As respects:

Loc# 2 Bldg#1 Loc# 3 Bldg# 1

Loc# 4 Bldg# 4
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NAMED INSURED SCHEDULE

Named Insured: Winbranch ll, LLC
Policy Effective Date: 05/01/2009
Policy Expiration Date: 05/01/2010
This endorsement effective: 12:01 AM 05/01/2009 forms a part of

Policy No: FCI 005 3063

Named Insured
Winbranch fl, LLC
As respects:

Loc #1 Bidg #1

Alterra Capital Group, LLC — Memphis
As respects: :
Loc #1 Bldg #1 Loc#2Bidg#1 Loc#3Bidg#1 Loc #4 Bldg #1

2861 Kimball Apartments, LLC
As respects:
Loc #2 Bidg #1

Alterra Corners, LLC
As respects:
Loc #3 Bidg #1

4616 Scott, LLC
As respects:
Loc #4 Bldg #1

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COMMERCIAL PROPERTY
CP 00 10 06 07

BUILDING AND PERSONAL PROPERTY
COVERAGE FORM

Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties and

what is and is not covered.

Throughout this policy the words "you" and "your" refer to the Named Insured shown in the Declarations, The
words "we", "us" and "our" refer to the Company providing this insurance.

Other words and phrases that appear in quotation marks have special meaning. Refer to Section H., Definitions.

A. Coverage

We will pay for direct physical loss of or damage to
Covered Property at the premises described in the
Declarations caused by or resulting from any Cov-
ered Cause of Loss.

1. Covered Property

Covered Property, as used in this Coverage
Part, means the type of property described in
this section, A.7., and limited in A.2., Property
Not Covered, if a Limit of Insurance is shown in
the Declarations for that type of property.

a. Building, meaning the building or structure
described in the Declarations, including:

{1) Completed additions;
{2) Fixtures, including outdoor fixtures;
(3) Permanently installed:

(a) Machinery and

(b) Equipment;

(4) Personal property owned by you that is
used to maintain or service the building
or structure or its premises, including:

(a) Fire-extinguishing equipment;
{b) Outdoor furniture:
(c) Floor coverings; and

{d) Appliances used for refrigerating,
ventilating, cooking, dishwashing or
laundering;

{5) If not covered by other insurance:

(a) Additions under construction, altera-
tions and repairs to the building or
structure;

(b} Materials, equipment, supplies and
temporary structures, on or within
100 feet of the described premises,
used for making additions, altera-
tions or repairs to the building of
structure.

b. Your Business Personal Property located

in or on the building described in the Decla-
rations or in the open (or in a vehicle) within
100 feet of the described premises, consist-
ing of the following unless otherwise speci-
fied in the Declarations or on the Your Busi-
ness Personal Property — Separation Of
Coverage form:

(1) Furniture and fixtures;
(2) Machinery and equipment;
(3) "Stock";

(4) All other personal property owned by
you and used in your business;

(5) Labor, materials or services furnished or
arranged by you on personal property of
others;

(6) Your use interest as tenant in improve-
ments and betterments. Improvements
and betterments are fixtures, alterations,
installations or additions:

(a) Made a part of the building or struc-
ture you occupy but do not own; and

(b) You acquired or made at your ex-
pense but cannot legally remove;

(7} Leased personal property for which you
have a contractual responsibility to in-
sure, unless otherwise provided for un-
der Personal Property Of Others.

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c. Personal Property Of Others that is: n. Electronic data, except as provided under

(1) In your care, custody or control; and

(2) Located in or on the building described
in the Declarations or in the open (or in
a vehicle) within 100 feet of the de-
scribed premises.

However, our payment for loss of or dam-
age to personal property of others will only
be for the account of the owner of the prop-
erty.

2, Property Not Covered
Covered Property does net include:

a.

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Accounts, bills, currency, food stamps or
other evidences of debt, money, notes or
securities. Lottery tickets held for sale are
not securities;

Animals, unless owned by others and
boarded by you, or if owned by you, only as
"stock" while inside of buildings;

. Automobiles held for sale;
. Bridges, roadways, walks, patios or other

paved surfaces;

. Contraband, or property in the course of

illegal transportation or trade;

The cost of excavations, grading, backfilling
or filling;

Foundations of buildings, structures, ma-
chinery or boilers if their foundations are
below:

(1) The lowest basement floor; or

(2) The surface of the ground, if there is no
basement;

Land (including land on which the property
is located), water, growing crops or lawns;

Personal property while airborne or water-
borne;

Bulkheads, pilings, piers, wharves or docks;

Property that is covered under another
coverage form of this or any other policy in
which it is more specifically described, ex-
cept for the excess of the amount due
(whether you can collect on it or not) from
that other insurance;

Retaining walls that are not part of a bulld-
ing;
Underground pipes, flues or drains;

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the Additional Coverage, Electronic Data.
Electronic data means information, facts or
computer programs stored as or on, cre-
ated or used on, or transmitted to or from
computer software (including systems and
applications software), on hard or floppy
disks, CD-ROMs, tapes, drives, cells, data
processing devices or any other reposito-
ries of computer software which are used
with electronically controlled equipment.
The term computer programs, referred to in
the foregoing description of electronic data,
means a set of related electronic instruc-
tions which direct the operations and func-
tions of a computer or device connected to
it, which enable the computer or device to
receive, process, store, retrieve or send
data. This paragraph, n., does not apply to
your "stock" of prepackaged software;

. The cost to replace or restore the informa-

tion on valuable papers and records, includ-
ing those which exist as electronic data.
Valuable papers and records include but
are not limited to proprietary information,
books of account, deeds, manuscripts, ab-
stracts, drawings and card index systems.
Refer to the Coverage Extension for Valu-
able Papers And Records (Other Than
Electronic Data} for limited coverage for
valuable papers and records other than
those which exist as electronic data;

. Vehicles or self-propelled machines (includ-

ing aircraft or watercraft) that:
(1) Are licensed for use on public roads; or

(2) Are operated principally away from the
described premises.

This paragraph does not apply io:

(a) Vehicles or self-propelled machines
or autes you manufacture, process
or warehouse;

{b) Vehicles or self-propelled machines,
other than autos, you hold for sale;

(c) Rowboats or canoes out of water at
the described premises; or

(d) Trailers, but oniy to the extent pre-
vided for in the Coverage Extension
for Non-owned Detached Trailers;

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q. The following property while outside of
buildings:

{1) Grain, hay, straw or other crops;

(2) Fences, racio or television antennas
(including satellite dishes) and their
lead-in wiring, masts or fowers, trees,
shrubs or plants {other than "stock" of
trees, shrubs or plants}, all except as
provided in the Coverage Extensions.

3. Covered Causes Of Loss

See applicable Causes Of Loss Ferm as
shown in the Declarations.
4, Additional Coverages
a. Debris Removal
(1) Subject ic Paragraphs (3) and (4), we
will pay your expense to remove debris
of Covered Property caused by or re-
sulting from a Covered Cause of Loss
that occurs during the policy period. The
expenses will be paid only if they are

reported to us in writing within 180 days
of the date of direct physical loss or

damage.
(2} Debris Removal does not apply to costs
to:
(a) Extract “pollutants” from land or
water; or

(b) Remove, restore or replace polluted
land or water.

(8) Subject to the exceptions in Paragraph
(4), the following provisions apply:

(a) The most we will pay for the total of
direct physical loss or damage plus
debris removal expense is the Limit
of Insurance applicable to the Cov-
ered Property that has sustained
loss or damage.

(b) Subject to {a} above, the amount we
will pay for debris removal expense
is limited to 25% of the sum of the
deductible plus the amount that we
pay for direct physical loss or dam-
age to the Covered Property that has
sustained loss or damage.

(4) We will pay up to an additional $10,000
for debris removal expense, for each lo-
cation, in any one occurrence of physi-
cal loss or damage to Covered Property,
if one or both of the following circum-
stances apply:

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(a) The total of the actual debris removal
expense plus the amount we pay for
direct physical loss or damage ex-
ceeds the Limit of Insurance on the
Covered Property that has sustained
loss or damage.

(b) The actual debris removal expense
exceeds 25% of the sum of the de-
ductible plus the amount that we pay
for direct physical loss or damage to
the Covered Property that has sus-
tained loss or damage.

Therefore, if (4}(a) and/or (4)(b) apply,

our ictal payment for direct physical loss
or damage and debris removal expense
may reach but will never exceed the
Limit of insurance on the Covered Prop-
erty that has sustained loss or damage,
plus $10,000.

(5) Examples

The following examples assume thai

there is no Coinsurance penalty.

EXAMPLE #1

Limit of Insurance: $ 90,000
Amount of Deductible: $ 500

Amount of Loss: $ 50,000
Amount of Loss Payable: $ 49,500

($50,000 -— $500)
Debris Removal Expense: $ 10,000
Debris Removal Expense Payable: $ 10,000

($10,000 is 20% of $50,000.)

The debris removal expense is less than 25% of the
sum of the loss payable plus the deductible. The sum
of the loss payable and the debris removal expense
($49,500 + $10,000 = $59,500) is less than the Limit
of Insurance. Therefore the full amount of debris
removal expense is payable in accordance with the
terms of Paragraph (3).

EXAMPLE #2
Limit of Insurance: $ 90,000
Amount of Deductible: $ 500
Amount of Loss: $ 80,000
Amount of Loss Payable: $ 79,500
($80,000 — $500)
Debris Removai Expense: $ 30,000
Debris Removal Expense Payable
Basic Amount: $ 10,500
Additional Amount $ 10,000

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The basic amount payable for debris removal ex-
pense under the terms of Paragraph (3) fs calculated
as follows: $80,000 ($79,500 + $500) x .25 = $20,000;
capped at $10,500. The cap applies because the sum
of the loss payable ($79,500) and the basic amount
payable for debris removal expense ($10,500) cannot
exceed the Limit of Insurance ($90,000).

The additional amount payable for debris removal
expense is provided in accordance with the terms of
Paragraph (4), because the debris removal expense
($30,000) exceeds 25% of the loss payable plus the
deductible ($30,000 is 37.5% of $80,000), and be-
cause the sum of the loss payable and debris removal
expense ($79,500 + $30,000 = $109,500) would ex-
ceed the Limit of Insurance ($90,000). The additional
amount of covered debris removal expense is
$10,000, the maximum payable under Paragraph (4).
Thus the total payable for debris removal expense in
this example is $20,500; $9,500 of the debris removal
expense is not covered.

b. Preservation Of Property

lf itis necessary to move Covered Property
from the described premises to preserve it
from joss or damage by a Covered Cause
of Loss, we will pay for any direct physical
loss or damage to that property:

(1) While it is being moved or while tempo-
rarily stored at another location; and

(2} Only if the loss or damage occurs within
30 days after the property is first moved.

c. Fire Department Service Charge

When the fire department is called to save
or protect Covered Property from a Cov-
ered Cause of Loss, we will pay up to
$1,000, unless a higher limit is shown in the
Declarations, for your liability for fire de-
partment service charges:

(1) Assumed by contract or agreement prior
to loss; or

(2} Required by local ordinance.

No Deductible applies to this Additional
Coverage.

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d. Pollutant Clean-up And Removal

We will pay your expense to extract "pollut-
ants" from land or water at the described
premises if the discharge, dispersal, seep-
age, migration, release or escape of the
"pollutants" is caused by or results from a
Covered Cause of Loss that occurs during
the policy period. The expenses wil! be paid
only if they are reported to us in writing
within 180 days of the date on which the
Covered Cause of Loss occurs.

This Additional Coverage does not apply to
costs to test for, monitor or assess the exis-
tence, concentration or effects of “pollut-
ants". But we will pay for testing which is
performed in the course of extracting the
"pollutants" from the land or water.

The most we will pay under this Additional
Coverage for each described premises is
$10,000 for the sum of all covered ex-
penses arising out of Covered Causes of
Loss occurring during each separate 12-
month period of this policy.

e. Increased Cost Of Construction

(1) This Additional Coverage applies only to
buildings to which the Replacement
Cost Optional Coverage applies.

{2} in the event of damage by a Covered
Cause of Loss to a building that is Cov-
ered Property, we will pay the increased
costs incurred to comply with enforce-
ment of an ordinance or law in the
course of repair, rebuilding or replace-
ment of damaged parts of that property,
subject to the limitations stated in e.(3)
through e.(9) of this Additional Cover-
age.

(8) The ordinance or law referred to in e.(2)
of this Additional Coverage is an ordi-
nance or law that reguiates fhe con-
struction or repair of buildings or estab-
lishes zoning or land use requirements
at the described premises, and is in
force at the time of loss.

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(4) Under this Additional Coverage, we will (ii) Unless the repairs or replace-

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not pay any costs due to an ordinance
or law that:

(a} You were required to comply with
before the loss, even when the build-
ing was undamaged; and

(b) You failed to comply with.

(5) Under this Additional Coverage, we will

not pay for:

(a) The enforcement of any ordinance or
law which requires demolition, repair,
replacement, reconstruction, remod-
eling or remediation of property due
to contamination by “pollutants” or
due to the presence, growth, prolif-
eration, spread or any activity of
“fungus", wet or dry rot or bacteria;
or

(b) Any costs associated with the en-
forcement of an ordinance or law
which requires any insured or others
to test for, monitor, clean up, re-
move, contain, treat, detoxify or neu-
tralize, or in any way respond to, or
assess the effects of "pollutants",
“fungus”, wet or dry rot or bacteria.

(6) The most we will. pay under this Addi-

tional Coverage, for each described
building insured under this Coverage
Form, is $10,000 or 5% of the Limit of
Insurance applicable to that building,
whichever is less. If a damaged building
is covered under a blanket Limit of In-
surance which applies to more than one
building or item of property, then the
most we will pay under this Additional
Coverage, for that damaged building, is
the lesser of: $10,000 or 5% times the
value of the damaged building as of the
time of loss times the applicable Coin-
surance percentage.

The amount payable under this Addi-
tional Coverage is additional insurance.

(7) With respect to this Additional Cover-

age:
{a) Ve will not pay for the increased
Cost of Construction:
(i) Until the property is actually re-
paired or repiaced, at the same
or another premises; and

(8)

(9)

ment are made as soon as rea-
sonably possible after the loss or
damage, not to exceed two
years. We may extend this period
in writing during the two years.

(b) If the building is repaired or replaced
at the same premises, or if you elect
fo rebuild at another premises, the
most we will pay for the Increased
Cost of Construction, subject to the
provisions of e.{6) of this Additional
Coverage, is the increased cost of
construction at the same premises.

(c) If the ordinance or law requires relo-
cation to another premises, the most
we will pay for the Increased Cost of
Construction, subject to the provi-
sions of ¢.(6) of this Additional Cov-
erage, is the increased cost of con-
struction at the new premises.

This Additional Coverage is not subject
to the terms of the Ordinance Or Law
Exclusion, to the extent that such Exclu-
sion would conflict with the provisions of
this Additional Coverage.

The costs addressed in the Loss Pay-
ment and Valuation Conditions, and the
Replacement Cost Optional Coverage,
in this Coverage Form, do not include
the increased cost attributable to en-
forcement of an ordinance or law. The
amount payabie under this Additional
Coverage, as stated in e.(8) of this Addi-
tional Coverage, is not subject to such
limitation.

f. Electronic Data

(1)

(2)

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Under this Additional Coverage, elec-
tronic data has the meaning described
under Property Not Covered, Electronic
Data.

Subject to the provisions of this Addi-
tional Coverage, we will pay for the cost
to replace or restore electronic data
which has been destroyed or corrupted
by a Covered Cause of Loss. To the ex-
tent that electronic data is not replaced
or restored, the loss will be valued at the
cost of replacement of the media on
which the electronic data was stored,
with blank media of substantially identi-

cal type.

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(3) The Covered Causes of Loss applicable
to Your Business Personal Property ap-
ply to this Additional Coverage, Elec-
tronic Data, subject to the following:

(a) if the Causes Of Loss -— Special
Form applies, coverage under this
Additional Coverage, Electronic
Data, is limited to the "specified
causes of loss" as defined in that
form, and Collapse as set forth in
that form. ,

(b) If the Causes Of Loss — Broad Form
applies, coverage under this Addi-
tional Coverage, Electronic Data, in-
cludes Collapse as set forth in that
form.

{c) if the Causes Of Loss Form is en-
dorsed to add a Covered Cause of
Loss, the additional Covered Cause
of Loss does not apply to the cover-
age provided under this Additional
Coverage, Electronic Data.

(d) The Covered Causes of Loss include
a virus, harmful code or similar in-
struction introduced into or enacted
on a computer system (including
electronic data) or a network to
which it is connected, designed. to
damage or destroy any part of the
system or disrupt its normal opera-
tion. But there is no coverage for
loss or damage caused by or result-
ing from manipulation of a computer
system (including electronic data) by
any employee, including a temporary
or leased employee, or by an entity
retained by you or for you to inspect,
design, install, modify, maintain, re-
pair or replace that system.

(4) The most we will pay under this Addi-
tional Coverage, Electronic Data, is
$2,500 for all loss or damage sustained
in any one policy year, regardless of the
number of occurrences of loss or dam-
age or the number of premises, loca-
tions or computer systems involved. If
loss payment on the first occurrence
does not exhaust this amount, then the
balance is available for subsequent loss
or damage sustained in but not after that
policy year. With respect to an occur-
rence which begins in one policy year
and continues or results in additional
loss or damage in a subsequent policy
year(s), all loss or damage is deemed to
be sustained in the policy year in which
the occurrence began.

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5. Coverage Extensions

Except as otherwise provided, the following Ex-
tensions apply to property located in or on the
building described in the Declarations or in the
open {or in a vehicle) within 100 feet of the de-
scribed premises.

If a Coinsurance percentage of 80% or mare,
or a Value Reporting period symbol, is shown
in the Declarations, you may extend the insur-
ance provided by this Coverage Part as fol-
lows:

a. Newly Acquired Or Constructed
Property
(1) Buildings
If this policy covers Building, you may
extend that insurance to apply to:

(a} Your new buildings while being built
on the described premises; and

(b) Buildings you acquire at locations,
other than the described premises,
intended for:

{i) Similar use as the building de-
scribed in the Declarations; or

(ii) Use as a warehouse.

The most we will pay for loss or damage
under this Extension is $250,000 at
each building.

(2) Your Business Personal Property

(a) If this policy covers Your Business
Personal Property, you may extend
that insurance to apply to:

(i) Business personal property,
including such property that you
newly acquire, at any location
you acquire other than at fairs,
trade shows or exhibitions;

{i} Business personal property,
including such property that you
newly acquire, located at your
newly constructed or acquired

buildings at the location de-:

scribed in the Declarations; or

(iii) Business personal property that
you newly acquire, located at the
described premises.

The most we will pay for loss or
damage under this Extension is
$100,000 at each building.

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(b) This Extension does not apply to: c. Valuable Papers And Records (Other

(i) Personal property of others that
is temporarily in your possession {1}
in the course of installing or per-
forming work on such property; or

(if) Personal property of others that
is temporarily in your possession
in the course of your manufactur-
ing or wholesaling activities.

(3) Period Cf Coverage

With respect to insurance on or at each

newly acquired or constructed property,

coverage will end when any of the fol- {2}
lowing first occurs:

(a) This policy expires;
{b) 30 days expire after you acquire the
property or begin construction of that

part of the building that would qualify (3)
as covered property; or

(c) You report values to us.

We will charge you additional premium 4
for values reported from the date you . 4)
acquire the property or begin construc-

tion of that part of the building that would

qualify as covered property.

b. Personal Effects And Property Of Others

You may extend the insurance that applies
to Your Business Personal Property to ap-
ply to:

(1} Personal effects owned by you, your
officers, your partners or members, your
managers or your employees. This Ex-
tension does not apply to loss or dam-
age by theft.

(2) Personal property of others in your care,
custody or control.

The most we will pay for loss or damage (1)
under this Extension is $2,500 at each de-

scribed premises. Our payment for loss of

or damage to personal property of others

will only be for the account of the owner of

the property.

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Than Electronic Data)

You may extend the insurance that
applies to Your Business Personal
Property to apply to the cost to replace
or restore the lost information on valu-
able papers and records for which dupli-
cates do not exist. But this Extension
does not apply to valuable papers and
records which exist as electronic data.
Electronic data has the meaning de-
scribed under Property Not Covered,
Electronic Data.

if the Causes Of Loss — Special Form
applies, coverage under this Extension
is limited to the "specified causes of
loss" as defined in that form, and Col-
lapse as set forth in that form.

lf the Causes Cf Loss — Broad Form
applies, coverage under this Extension
includes Collapse as set forth in that
form.

Under this Extension, the most we will
pay to replace or restore the lost infor-
mation is $2,500 at each described
premises, unless a higher limit is shown
in the Declarations. Such amount is ad-
ditional insurance. We will also pay for
the cost of blank material for reproduc-
ing the records (whether or not dupli-
cates exist), and (when there is a dupli-
cate) for the cost of labor to transcribe
or copy the records. The costs of blank
material and labor are subject to the ap-
plicable Limit of Insurance on Your
Business Personal Property and there-
fore coverage of such costs is not addi-
tional insurance.

d. Property Off-premises

You may extend the insurance provided
by this Coverage Form to apply to your
Covered Property while it is away from
the described premises, if it is:

{a} Temporarily at a location you do not
own, lease or operate;

(b) In storage at a location you lease,
provided the lease was executed af-
ter the beginning of the current policy
term; or

(c) At any fair, trade show or exhibition.

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(2) This Extension does not apply to prop-
erty:
{a) In or on a vehicle; or

(b) In the care, custody or control of
your salespersons, unless the prop-
erty is in such care, custody or con-
trol at a fair, trade show or exhibition.

(3) The most we will pay for loss or damage
under this Extension is $10,000.

e. Outdoor Property

You may extend the insurance provided by
this Coverage Form to apply to your out-
door fences, radio and television antennas
{including satellite dishes}, trees, shrubs
and plants {other than "stock" of trees,
shrubs or plants), including debris removal
expense, caused by or resulting from any of
the following causes of loss if they are Cov-
ered Causes of Loss:

(1) Fire;

(2) Lightning;

(3) Explosion;

(4) Riot or Civil Commotion: or
(5) Aircraft.

The most we will pay for loss or damage
under this Extension is $1,000, but not
more than $250 for any one tree, shrub or
plant. These limits apply to any one occur-
. fence, regardless of the types or number of
items lost or damaged in that occurrence.

f. Non-owned Detached Trailers

(1) You may extend the insurance that
applies to Your Business Personal
Property to apply to loss or damage to
trailers that you do not own, provided
that:

(a) The trailer is used in your Dusiness;

(b) The trailer is in your care, custody or
control at the premises described in
the Declarations; and

{c) You have a contractual responsibility
to pay for joss or damage to the
trailer.

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(2) We will not pay for any loss or damage
that occurs:

{a) While the trailer is attached to any
motor vehicle or motorized convey-
ance, whether or not the motor vehi-
cle or motorized conveyance is in
motion; ,

(b}) During hitching or unhitching opera-
tions, or when a trailer becomes ac-
cidentally unhitched from a motor
vehicle or motorized conveyance.

(3) The most we will pay for loss or damage
under this Extension is $5,000, unless a
higher limit is shown in the Declarations.

(4) This insurance is excess over the
amount due (whether you can collect on
it or not} from any other insurance cov-
ering such property.

Each of these Extensions is additional insurance
unless otherwise indicated. The Additional Condi-

tion, Coinsurance, does not apply to these Exten-
sions.

. Exclusions And Limitations

See applicable Causes Of Loss Form as shown in
the Declarations.

. Limits Of Insurance

The most we will pay for loss or damage in any
one occurrence is the applicable Limit of Insur-
ance shown in the Declarations.

The most we will pay for loss or damage to out-
door signs, whether or not the sign is attached to a
building, is $2,500 per sign in any one occurrence.

The amounts of insurance stated in the following
Additional Coverages apply in accordance with the
terms of such coverages and are separate from
the Limii(s) of insurance shown in the Declarations
for any other coverage:

4. Fire Department Service Charge;

2. Pollutant Clean-up And Removal;

3. Increased Cost Of Construction; and
4, Electronic Data.

Payments under the Preservation Of Property Ad-
ditional Coverage wiil not increase the applicable
Limit of insurance.

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D. Deductible

In any one occurrence of loss or damage (herein-
after referred to as loss), we will first reduce the
amount of loss if required by the Coinsurance
Condition or the Agreed Value Optional Coverage.
lf the adjusted amount of loss is less than or equal
to the Deductible, we will not pay for that loss. If
the adjusted amount of loss exceeds the Deducti-
bie, we will then subtract the Deductible from the
adjusted amount of loss, and will pay the resulting
amount or the Limit of Insurance, whichever is
less.

When the occurrence involves loss to more than
one item of Covered Property and separate Limits
of Insurance apply, the losses will not be com-
bined in determining application of the Deductible.
But the Deductible will be applied only once per
occurrence.

EXAMPLE #1

(This example assumes there is no Coinsurance
penalty.)

Deductible: $ 250
Limit of Insurance — Building #1: $ 60,000
Limit of Insurance — Building #2: $ 86,000
Loss to Building #1: $ 60,100

Loss to Building #2: $ 90,000

The amount of loss to Building #1 ($60,100) is less
than the sum ($60,250) of the Limit of Insurance ap-
plicable fo Building #1 plus the Deductible.

The Deductible will be subtracted from the amount of
loss in calculating the loss payable for Building #1:

3 60,100

- 250

$ 59,850 Loss Payable — Building #1

The Deductible applies once per occurrence and
therefore is not subtracted in determining the amount
of loss payable for Building #2. Loss payable for
Buliding #2 is the Limit of Insurance of $80,000.

Total amount of loss payable:
$59,850 + $80,000 = $139,850

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EXAMPLE #2

(This example, too, assumes there is no Coinsurance
penalty.)

The Deductible and Limits of Insurance are the same
as those in Example #1.

Loss to Building #1: $ 70,000
{Exceeds Limit of Insurance plus Deductible)

Loss to Building #2: $ 90,000
{Exceeds Limit of Insurance plus Deductible)

Loss Payable — Building #1: $ 60,000
{Limit of Insurance)

Loss Payable — Building #2: $ 80,000
(Limit of Insurance)

Total amount of loss payable: $ 140,000

E. Loss Conditions

The following conditions apply in addition to the
Common Policy Conditions and the Commercial
Property Conditions.

1. Abandonment

There can be no abandonment of any property
to us.

2. Appraisal

If we and you disagree on the value of the
property or the amount of loss, either may
make written demand for an appraisal of the
loss. In this event, each party will select a com-
petent and impartial appraiser. The two ap-
praisers will select an umpire. If they cannot
agree, either may fequest that selection be
made by a judge of a court having jurisdiction.
The appraisers will state separately the value
of the property and amount of loss. If they fail
to agree, they will submit their differences to
the umpire. A decision agreed to by any two
will be binding. Each party will:

a. Pay its chosen appraiser; and

b. Bear the other expenses of the appraisal
and umpire equally.

if there is an appraisal, we will still retain our
right to deny the claim.

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3. Duties In The Event Of Loss Or Damage
a. You must see that the following are done in

4, Loss Payment
a. In the event of loss or damage covered by

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the event of loss or damage to Covered

Property:

(1} Notify the police if a law may have been
broken.

(2) Give us prompt notice of the loss ar
damage. Inciude a description of the
property involved.

(3} As. soon as possible, give us a descrip-
tion of how, when and where the loss or
damage occurred.

(4) Take all reasonable steps to protect the
Covered Property from further damage,
and keep a record of your expenses
necessary to protect the Covered Prop-
erty, for consideration in the settlement
of the claim. This will not increase the
Limit of Insurance. However, we will not
pay for any subsequent loss or damage
resulting from a cause of loss that is not
a Covered Cause of Loss. Also, if feasi-
ble, set the damaged property aside and
in the best possible order for examina-
tion.

{5) At our request, give us complete inven-
tories of the damaged and undamaged
property. include quantities, costs, val-
ues and amount of loss claimed.

(6) As often as may be reasonably required,
permit us to inspect the property proving
the loss or damage and examine your
books and records.

Also permit us to take samples of dam-
aged and undamaged property for in-
spection, testing and analysis, and per-
mit us to make copies from your books
and records.

(7) Send us a signed, sworn proof of loss
containing the information we request to
investigate the claim. You must do this
within 60 days after our request. We will
supply you with the necessary forms.

(8) Cooperate with us in the investigation or
settlement of the claim.

b. We may examine any insured under oath,
while not in the presence of any other in-
sured and at such times as may be rea-
sonably required, about any matter relating
to this insurance or the claim, including an
insuredc's books and records. In the event of
an examination, an insured's answers must
be signed.

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this Coverage Form, at our option, we will
either:

(1) Pay the value of lost or damaged prop-
erly;

(2) Pay the cost of repairing or replacing the
lost or damaged property, subject to b.
below;

(3) Take all or any part of the property at an
agreed or appraised value; or

{4) Repair, rebuild or replace the property
’ with other property of like kind and qual-
ity, subject to b. below,

We will determine the value of lost or dam-
aged property, or the cost of ifs repair or
replacement, in accordance with the appli-
cable terms of the Valuation Condition in
this Coverage Form or any applicable pro-
vision which amends or supersedes the
Valuation Condition.

. The cost to repair, rebuild or replace does

not include the increased cost attributable
to enforcement of any ordinance or law
regulating the construction, use or repair of

any property.

. We will give notice of our intentions within

30 days after we receive the sworn proof of
loss.

. We will not pay you more than your finan-

cial interest in the Covered Property.

. We may adjust losses with the owners of
last or damaged property if other than you.

If we pay the owners, such payments will
satisfy your claims against us for the own-
ers’ property. We will not pay the owners
more than their financial interest in the Cov-
ered Property.

. We may elect to defend you against suits

arising from claims of owners of property.
We will do this at our expense.

. We will pay for covered loss or damage

within 30 days after we receive the swom
proof of loss, if you have complied with all
of the terms of this Coverage Part and:

(1) We have reached agreement with you
on the amount of loss; or

(2) An appraisal award has been made.

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h. A party wall is a wall that separates and is (b) When this policy is issued to the
common to adjoining buildings that are owner or general lessee of a build-
owned by different parties. in settling cov- ing, building means the entire build-
ered losses involving a party wall, we will ing. Such building is vacant unless at
pay @ proportion of the loss to the party wall least 31% of its total square footage
based on your interest in the wall in propor- is:
tion to the interest of the owner of the ad- (i) Rented to a lessee or sub-lessee
joining building. However, if you elect to re- and used by the lessee or sub-
pair or replace your building and the owner lessee to conduct its customary
of the adjoining building elects not to repair operations; and/or
or replace that building, we will pay you the _ ; a
full value of the loss to the party wail, sub- (ii) Used by the building owner to
ject to all applicable policy provisions in- conduct customary operations.
cluding Limits of Insurance, the Valuation {2) Buildings under construction or renova-
and Coinsurance Conditions and all other tion are not considered vacant.

provisions of this Loss Payment Condition.

Our payment under the provisions of this b. Vacancy Provisions

paragraph does not alter any right of subro- If the building where loss or damage occurs
gation we may have against any entity, in- has been vacant for more than 60 consecu-
cluding the owner or insurer of the adjoining tive days before that loss or damage oc-
building, and does not alter the terms of the curs:
Transfer Of Rights Of Recovery Against (1) We will not pay for any loss or damage
Others To Us Condition in this policy. caused by any of the following even if
5. Recovered Property they are Covered Causes of Loss:
If either you or we recover any property after (a) Vandalism;
loss settlement, that party must give the other (b) Sprinkler leakage, unless you have
prompt notice. At your option, the property will protected the system against freez-
be returned to you. You must then return to us ing:

the amount we paid to you for the property. We

will pay recovery expenses and the expenses (c) Building glass breakage;

to repair the recovered property, subject to the (d) Water damage;
Limit of insurance. (e) Theft; or
6. Vacancy (f} Attempted theft.
a, Description Of Terms (2) With respect to Covered Causes of Loss
(1) As used in this Vacancy Condition, the other than those listed in b.(1}(a)
term building and the term vacant have through b.(1)(f) above, we will reduce
the meanings set forth in (1)(a) and the amount we would otherwise pay for
(1)(b) below: the loss or damage by 15%.
(a) When this policy is issued to a ten- 7. Valuation
ant, and with respect to that tenant's We will determine the value of Covered Prop-
interest in Covered Property, building erty in the event of loss or damage as follows:

means the unit or suite rented or

leased to the tenant. Such building is a. At actual cash value as of the time of loss

vacant when it does net contain or damage, except as provided in b., c., d.

enough business personal property and e. below.

to conduct customary operations. b. lf the Limit of Insurance for Building satis-
fies the Additional Condition, Coinsurance,
and the cost to repair or replace the dam-
aged building property is $2,500 or less, we
will pay the cost of building repairs or re-
placement.

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The cost of building repairs or replacement
does not include the increased cost attrib-
utable to enforcement of any ordinance or
law regulating the construction, use or re-
pair of any property.

However, the following property will be val-
ued at the actual cash value even when at-
tached to the buitding:

(1) Awnings or floor coverings;

(2) Appliances for refrigerating, ventilating,
cooking, dishwashing or laundering; or

(3) Outdoor equipment or furniture.’

c. "Stock" you have sold but not delivered at
the selling price fess discounts and ex
penses you otherwise would have had.

d. Glass at the cost of replacement with
safety-glazing material if required by law.

e. Tenanis' Improvements and Betterments at:

(1) Actual cash value of the lost or dam-
aged property if you make repairs
prompily.

(2) A proportion of your original cost if you
do not make repairs promptly. We will
determine the proportionate value as fol-
lows:

(a) Multiply the original cost by the num-
ber of days from the loss or damage
to the expiration of the lease; and

{b) Divide the amount determined in (a)
above by the number of days from
the installation of improvements to
the expiration of the lease.

If your lease contains a renewal option,
the expiration of the renewal option pe-
riod will replace the expiration of the
lease in this procedure.

(3) Nothing if cthers pay for repairs or re-
placement.

F, Additional Conditions

The following conditions apply in addition fo the
Common Policy Conditions and the Commercial
Property Conditions.

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1. Coinsurance

lf a.Coinsurance percentage is shown in the
Declarations, the following condition applies.

a. We will not pay the full amount of any loss if
the value of Covered Property at the time of
loss times the Coinsurance percentage
shown for it in the Declarations is greater
than the Limit of Insurance for the property.

Instead, we will determine the most we will
pay using the following steps:

{1} Multiply the value of Covered Property
at the time of loss by the Coinsurance
percentage;

(2) Divide the Limit of Insurance of the
property by the figure determined in
Step (1);

(3} Multiply the total amount of loss, before
the application of any deductible, by the
figure determined in Step (2); and

(4) Subtract the deductible from the figure
determined in Step (3).

We will pay the amount determined in Step
(4) or the limit of insurance, whichever is
less. For the remainder, you will either have
to rely on other insurance or absorb the
loss yourself.

EXAMPLE #7 (UNDERINSURANCE)

When:

The value of the property is: $250,000
The Coinsurance percentage

for it is: 80%
The Limit of Insurance for itis: $100,000
The Deductible is: $ 250
The amount of loss is: $ 40,000

Step (1): $250,000 x 80% = $200,000

(the minimum amount of insurance to
meet your Coinsurance requirements)

Step (2): $100,000 + $200,000 = .50
Step (3): $40,000 x .50 = $20,000
Step (4): $20,000 - $250 = $19,750

We will pay no more than $19,750. The remaining
$20,250 is not covered.

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EXAMPLE #2 (ADEQUATE INSURANCE)

When: The value of the property is: $ 250,000
The Coinsurance percentage
for it is: 80%
The Limit of Insurance for itis: $200,000
The Deductible is: $ 250
The amount of Joss is: $ 40,000

The minimum amount of insurance to meet your Co-
insurance requirement is $200,000 ($250,000 x 80%).
Therefore, the Limit of Insurance in this example is
adequate and no penalty applies. We will pay no
more than $39,750 ($40,000 amount of loss minus
the deductible of $250).

b. If one Limit of Insurance applies to two or
more separate items, this condition will ap-
ply to the total of all property to which the
limit applies.

EXAMPLE #3

When: The value of the property is:
Building at Location #1: $ 75,000
Building at Location #2: $ 100,000

Personal Property
at Location #2: $ 75,000

$ 250,000
The Coinsurance percentage
for it is: 90%
The Limit of insurance for
Buildings and Personal Property

at Locations #1 and #2 is: $ 180,000

The Deductible is: $ 1,000

The amount of loss is:

Building at Location #2: $ 30,000

Personal Property

at Location #2: _$ 20,000
$ 50,000

Step (1); $250,000 x 90% = $225,000

{the minimum amount of insurance to
meet your Coinsurance requirements
and to avoid the penalty shown below}

Step (2): $180,000 + $225,000 = .80
Step (3}: $50,000 x .80 = $40,000
Step (4): $40,000 — $1,000 = $39,000

We will pay no more than $39,000. The remaining
$71,000 is not covered.

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2. Mortgageholders
a. The term mortgageholder includes trustee.
b. We will pay for covered loss of or damage

to buildings or structures to each mori-
gageholder shown in the Declarations in
their order of precedence, as interests may
appear.

. The mortgageholder has the right to receive

loss payment even. if the mortgageholder
has started foreclosure or similar action on
the building or structure.

. If we deny your claim because of your acts

or because you have failed to comply with
the terms of this Coverage Part, the mort-
gageholder will still have the right to receive
loss payment if the mortgageholder:

(1) Pays any premium due under this Cov-
erage Part at our request if you have
failed to do so;

(2) Submits a signed, swom proof of loss
within 60 days after receiving notice
from us of your failure to do so; and

{3} Has notified us of any change in owner-
ship, occupancy or substantial change
in risk known to the mortgageholder.

All of the terms of this Coverage Part will
then apply directly to the mortgageholder.

. If we pay the mortgageholder for any joss

or damage and deny payment te you be-
cause of your acts or because you have
failed to comply with the terms of this Cov-
erage Part:

(1) The morigageholder's rights under the
mortgage will be transferred to us to the
extent of the amount we pay; and

(2) The mortgageholder's right to recover
the full amount of the mortgageholder's
claim will not be impaired.

At our option, we may pay to the mortgage-
holder the whole principal on the mortgage
plus any accrued interest. In this event,
your mortgage and note will be transferred
to us and you will pay your remaining mort-
gage debt to us.

. ff we cancel this policy, we will give written

notice to the mortgageholder at least:

(4) 10 days before the effective date of
cancellation if we cancel for your non-
payment of premium; or

{2) 30 days before the effective date of
cancellation if we cancel for any other
reason.

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g. if we elect not to renew this policy, we will
give written notice to the mortgageholder at
least 10 days before the expiration date of
this policy.

G. Optional Coverages

if shown as applicable in the Declarations, the fol-
lowing Optional Coverages apply separately to
each item.

1. Agreed Value

a. The Additional Condition, Coinsurance,
does not apply to Covered Praperty to
which this Optional Coverage applies. We
will pay no more for loss of or damage to
that property than the proportion that the
Limit of Insurance under this Coverage Part
for the property bears to the Agreed Value
shown for it in the Declarations.

b. If the expiration date for this Optional Cov-
erage shown in the Declarations is not ex-
tended, the Additional Condition, Coinsur-
ance, is reinstated and this Optional Cover-
age expires.

c. The terms of this Optional Coverage apply
only to loss or damage that occurs:

(1) On or after the effective date of this
Optional Coverage; and

(2) Before the Agreed Value expiration date
shown in the Declarations or the policy
expiration date, whichever occurs first.

2. Inflation Guard

a. The Limit of Insurance for property to which
this Optional Coverage applied will auto-
matically increase by the annual percent-
age shown in the Declarations.

b. The amount of increase will be:

(1) The Limit of Insurance that applied on
the most recent of the policy inception
date, the policy anniversary date, or any
other policy change amending the Limit
of Insurance, times

{2) The percentage of annual increase

shown in the Declarations, expressed as _

a decimal (example: 8% is .08), times

(3) The number of days since the beginning
of the current policy year or the effective
date of the most recent policy change
amending the Limit of insurance, divided
by 365.

EXAMPLE

If:

The applicable Limit of Insurance is: $ 100,000
The annual percentage increase is: 8%

The number of days since the
beginning of the policy year

{or last policy change) is: 146
The amount of increase is:
$100,000 x .08 x 146 + 365 = $ 3,200

3. Replacement Cost

a. Replacement Cost {without deduction for
depreciation) replaces Actual Cash Value in
the Valuation Loss Condition of this Cover-
age Form.

b. This Optional Coverage does not apply to:
(1) Personal property of others;
(2) Contents of a residence;

(3) Works of art, antiques or rare articles,
including etchings, pictures, statuary,
marbles, bronzes, porcelains and bric-a-
brac: or

(4) "Stock", unless the Including "Stock"
eption is shown in the Declarations.

Under the terms of this Replacement Cost
Optional Coverage, tenants’ improvements
and betterments are not considered to be
the personal property of others. —

ec, You may make a claim for loss or damage
covered by this insurance on an actual cash
value basis instead of on a replacement
cost basis. In the event you elect to have
loss or damage settled on an actual cash
value basis, you may still make a claim for
the additional coverage this Optional Cov-
erage provides if you notify us of your intent
to do so within 180 days after the loss or
damage.

d. We will not pay on a replacement cost basis
for any loss or damage:

(1} Until the lost or damaged property is
actually repaired or replaced; and

(2) Unless the repairs or replacement are
made as soon as reasonably possible
after the loss or damage.

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With respect to tenants’ improvements and
betterments, the following also apply:

(3) if the conditions in d.(1} and d.(2} above
are not met, the value of tenants’ im-
provements and betterments will be de-
termined as a proportion of your original
cost, as set forth in the Valuation Loss
Condition of this Coverage Form; and

(4) We will not pay for loss or damage to
tenants’ improvements and betterments
if others pay for repairs or replacement.

e. We will not pay more for loss or damage on
a replacement cost basis than the least of
(1), (2) or (3), subject to f. below:

(1) The Limit of Insurance applicable to the
lost or damaged property;

{2) The cost to replace the lost or damaged
property with other property:
(a) Of comparable material and quality;
and

(b) Used for the same purpose; or

{3) The amount actually spent that is nec-
essary to repair or replace the lost or
damaged property.

if a building is rebuilt at a new premises, the
cost described in e.{2) above is limited to
the cost which would have been incurred if
the building had been rebuilt at the original
premises.

f. The cost of repair or replacement does not
include the increased cost attributable to
enforcement of any ordinance or law regu-
lating the construction, use or repair of any

property.

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4, Extension Of Replacement Cost To
Personal Property Of Others

a. If the Replacement Cost Optional Coverage
is shown as applicable in the Declarations,
then this Extension may also be shown as
applicable. If fhe Declarations show this Ex-
tension as applicable, then Paragraph
3.b.(1}) of the Replacement Cost Optional
Coverage is deleted and all other provisions
of the Replacement Cost Optional Cover-
age apply to replacement cost on personal
property of others.

b. With respect to replacement cost on the
personal property of others, the following
limitation applies:

If an item(s) of personal property of others
is subject to a written contract which gov-
ems your liability for loss or damage to that
item(s), then vaiuation of that item(s) will be
based on the amount for which you are li-
able under such contract, but not to exceed
the lesser of the replacement cost of the
property or the applicable Limit of Insur-
ance.

H. Definitions

1. "Fungus" means any fype or form of fungus,
including mold or mildew, and any mycotoxins,
spores, scents or by-products produced or re-
leased by fungi.

2. "Pollutants" means any solid, liquid, gaseous or
thermal irritant or contaminant, including
smoke, vapor, soot, fumes, acids, alkalis,
chemicals and waste. Waste includes materials
to be recycled, reconditioned or reclaimed.

3. "Stock" means merchandise held in storage or
for sale, raw materials and in-process or fin-
ished goods, including supplies used in their
packing or shipping.

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COMMERCIAL PROPERTY
CP 00 30 06 07

BUSINESS INCOME (AND EXTRA EXPENSE)
COVERAGE FORM

Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties and
what is and is not covered.

Throughout this policy the words "you" and "your" refer to the Named Insured shown in the Declarations. The
words "we", "us" and "our" refer to the Company providing this insurance.

Other words and phrases that appear in quotation marks have special meaning. Refer to Section F., Definitions.

With respect to the requirements set forth in
the preceding paragraph, if you occupy only

. A. Coverage
1. Business Income

CP 00 30 06 07

Business Income means the:
a. Net Income (Net Profit or Loss before in-

come taxes) that would have been earned

or incurred; and

b. Continuing normal operating expenses
incurred, including payroll.

For manufacturing risks, Net Income includes
the net sales value of production.

Coverage is provided as described and limited
below for one or more of the following options
for which a Limit of Insurance is shown in the
Declarations:

(1) Business Income including "Rental
Value".

(2) Business Income Other Than "Rental
Value".

(3) “Rental Value".

If option (1) above is selected, the term Busi-
ness Income will include "Rental Value". lf op-
tion (3) above is selected, the term Business
Income will mean "Rental Value" only.

If Limits of Insurance are shown under more
than one of the above options, the provisions
of this Coverage Part apply separately te each.

We will pay for the actual loss of Business [n-
come you sustain due to the necessary "sus-
pension" of your "operations" during the "period
of restoration". The “suspension” must be
caused by direct physical loss of or damage to
property at premises which are described in
the Declarations and for which a Business In-
come Limit of Insurance is shown in the Decia-
rations. The loss or damage must be caused
by or result from a Covered Cause of Loss.
With respect to joss of or damage fo personal
property in the open or personal property in a
vehicle, the described premises include the
area within 100 feet of the site at which the de-
scribed premises are located.

part of the site at which the described premises
are located, your premises means:

(a) The portion of the building which you
rent, lease or occupy; and

(b) Any area within the building or on the .
site at which the described premises
are located, if that area services, or
is used to gain access to, the de-
scribed premises.

, Extra Expense

a. Extra Expense Coverage is provided at the
premises described in the Declarations only
if the Declarations show that Business In-
come Coverage applies at that premises.

b, Extra Expense means necessary expenses
you incur during the "period of restoration"
that you would not have incurred if there
had been no direct physical loss or damage
to property caused by or resulting from a
Covered Cause of Loss.

We will pay Extra Expense (other than the
expense to repair or replace property) to:

(1) Avoid or minimize the "suspension" of
business and to continue operations at
the described premises or at replace-
ment premises or temporary locations,
including relocation expenses and costs
to equip and operate the replacement
location or temporary location.

(2) Minimize the “suspension” of business if
you cannot continue “operations”.

We will also pay Extra Expense to repair or
replace property, but only to the extent it
reduces the amount of loss that otherwise
would have been payable under this Cov-
erage Form.

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3. Covered Causes Of Loss, Exclusions And
Limitations

See applicable Causes Of Loss Form as
shown in the Declarations.

4. Additional Limitation — Interruption Of
Computer Operations

a. Coverage for Business Income does not
apply when a “suspension” of "operations"
is caused by destruction or corruption of
elecironic data, or any loss or damage to
electronic data, except as provided under
the Additional Coverage — Interruption Of
Computer Operations.

b. Coverage for Extra Expense does not apply
when action is taken fo avoid or minimize a
"suspension" of “operations” caused by de-
struction or corruption of electronic data, or
any loss or damage fo electronic data, ex-
cept as provided under the Additional Cov-
erage — Interruption Of Computer Opera-
tions.

c. Electronic data means information, facts or
computer programs stored as or on, cre-
ated or used on, or transmitted to or from
computer software (including systems and
applications software), on hard or floppy
disks, CD-ROMs, tapes, drives, ceils, data
processing devices or any other reposito-
ries of computer software which are used
with electronically controlled equipment.
The term computer programs, referred to in
the foregoing description of electronic data,
means a set of related electronic instruc-
tions which direct the operations and func-
tions of a computer or device connected to
it, which enable the computer or device to
receive, process, store, retrieve or send
data.

§. Additional Coverages
a. Civil Authority

In this Additional Coverage — Civil Authority,
the described premises are premises to
which this Coverage Form applies, as
shown in the Declarations.

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When a Covered Cause of Loss causes
damage to property other than property at
the described premises, we will pay for the
actual loss of Business income you sustain
and necessary Extra Expense caused by
action of civil authority that prohibits access
to the described premises, provided that
both of the following apply:

(1) Access fo the area immediately sur-
rounding the damaged property is pro-
hibited by civil authority as a result of
the damage, and the described prem-
ises are within that area but are not
more than one mile from the damaged
property; and

(2) The action of civil authority is taken in
response to dangerous physical condi-
tions resulting from the damage or con-
tinuation of the Covered Cause of Loss
that caused the damage, or the action is

- taken to enable a civil authority to have
unimpeded access to the damaged
property.

Civil Authority Coverage for Business In-
come will begin 72 hours after the time of
the first action of civil authority that prohibits
access to the described premises and will
apply for a period of up to four consecutive
weeks from the date on which such cover-
age began.

Civil Authority Coverage for Extra Expense
will begin immediately after the time of the
first action of civil authority that prohibits
access to the described premises and will
end:

(1) Four consecutive weeks after the date
of that action; or

(2) When your Civil Authority Coverage for
Business Income ends;

whichever is later.

b. Alterations And New Buildings

We will pay for the actual loss of Business
Income you sustain and necessary Extra
Expense you incur due to direct physical
loss or damage at the described premises
caused by or resulting from any Covered
Cause of Loss to:

(1) New buildings or structures, whether
complete or under construction;

{2} Alterations or additions to existing build-
ings or structures; and

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(3) Machinery, equipment, supplies or build- (2)
ing materials located on or within 100
feet of the described premises and:

(a) Used in the construction, alterations
or additions; or

(b) Incidental to the occupancy of new
buildings.

If such direct physical loss or damage ce-
lays the start of "operations", the "period of
restoration" for Business Income Coverage
will begin on the date "operations" would
have begun if the direct physical loss or
damage had not occurred.

c. Extended Business Income

(1} Business Income Other Than "Rental
Value"

If the necessary "suspension" of your
“operations” produces a Business [n-
come loss payable under this policy, we
will pay for the actual loss of Business
income you incur during the period that:

(a) Begins on the date property (except
“finished stock") is actually repaired,
rebuilt or replaced and “operations”
are resumed; and

(b) Ends on the earlier of:

(i} The date you could restore your
“operations”, with reasonable
speed, to the level which would
generate the business income
amount that would have existed if
no direct physical loss or damage (1)
had occurred; or

(fi) 30 consecutive days after the
date determined in (1){a) above.

However, Extended Business Income (2)
does not apply to loss of Business In-

come incurred as a resuit of unfavorable

business conditions caused by the im-

pact of the Covered Cause of Loss in

the area where the described premises

are located.

Loss of Business !ncome must be
caused by direct physical loss or dam-
age at the described premises caused
by or resulting from any Covered Cause
of Loss.

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“Rental Value"

If the necessary "suspension" of your
"operations" produces a "Rental Value"
loss payable under this policy, we will
pay for the actual loss of "Rental Value"
you incur during the period that:

(a) Begins on the date property is actu-
ally repaired, rebuilt or repiaced and
tenantability is restored; and

(b) Ends on the earlier of:

(i} The date you could restore tenant
occupancy, with reasonable
speed, io the level which would
generate the "Rental Value" that
would have existed if no direct
physical loss or damage had oc-
curred; or

(il) 30 consecutive days after the
date determined in (2){a) above.

However, Extended Business income
does not apply to loss of "Rental Value"
incurred as a result of unfavorable busi-
ness conditions caused by the impact of
the Covered Cause of Loss in the area
where the described premises are lo-
cated.

Loss of "Rental Value" must be caused
by direct physical loss or damage at the
described premises caused by or result-
ing from any Covered Cause of Loss.

d. interruption Of Computer Operations

Under this Additional Coverage, elec-
tronic data has the meaning described
under Additional Limitation — Interruption
Of Computer Operations.

Subject to all provisions of this Addi-
tional Coverage, you may extend the in-
surance that applies to Business Income
and Extra Expense to apply to a "sus-
pension” of “operations” caused by an
interruption in computer operations due
to destruction or corruption of electronic
data due to a Covered Cause of Loss.

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(3) With respect to the coverage provided

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under this Additional Coverage, the
Covered Causes of Loss are subject to
the following:

(a) If the Causes Of Loss - Special
Form applies, coverage under this
Additional Coverage — Interruption
Of Computer Operations is limited to
the "specified causes of loss" as de-
fined in that form, and Collapse as
set forth in that form.

{b) lf the Causes Of Loss — Broad Form
applies, coverage under this Addi-
tional Coverage — Interruption Of
Computer Operations includes Col-
lapse as set forth in that form.

(c) If the Causes Of Loss Form is en-
dorsed to add a Covered Cause of
Loss, the additional Covered Cause
of Loss does not apply to the cover-
age provided under this Additional
Coverage — Interruption Of Com-
puter Operations.

{d) The Covered Causes of Loss include
a virus, harmful code or similar in-
struction introduced into or enacted
on a computer system (including
electronic data) or a network to
which if is connected, designed to
damage or destroy any part of the
system or disrupt its normal! opera-
tion. But there is no coverage for an
interruption related to manipulation
of a computer system (including

electronic data) by any employee, —

including a temporary or leased em-
ployee, or by an entity retained by
you or for you to inspect, design, in-
stall, maintain, repair or replace that
system.

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{4) The most we will pay under this Addi-
tional Coverage — Interruption of Com-
puter Operations is $2,500 for all loss
sustained and expense incurred in any
one policy year, regardless of the num-
ber of interruptions or the number of
premises, locations or computer sys-
tems involved. If loss payment relating
to the first interruption does not exhaust
this amount, then the balance is avail-
able for loss or expense sustained or in-
curred as a result of subsequent inter-
ruptions in that policy year. A balance
remaining at the end of a policy year
does not increase the amount cf insur-
ance in the next policy year. With re-
spect to any interruption which begins in
one policy year and continues or results
in additional loss or expense in a sub-
sequent policy year(s), all loss and ex-
pense is deemed to be sustained or in-
curred in the policy year in which the in-
terruption began. :

(5) This Additional Coverage — Interruption
in Computer Operations does not apply
to loss sustained or expense incurred
after the end of the “period of restcra-
tion", even if the amount of insurance
stated in (4) above has not been ex-
hausted.

6. Coverage Extension

If a Coinsurance percentage of 50% or more is
shown in the Declarations, you may extend the
insurance provided by this Coverage Part as
follows:

NEWLY ACQUIRED LOCATIONS

a. You may extend your Business Income and
Extra Expense Coverages to apply to prop-
erty at any location you acquire other than
fairs or exhibitions.

b. The most we will pay under this Extension,
for the sum of Business Income loss and
Extra Expense incurred, is $100,000 at
each location.

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c. Insurance under this Extension for each
newly acquired location will end when any
of the following first occurs:

(1} This policy expires;

(2} 30 days expire after you acquire or
begin to construct the property; or

(3) You report values to us.

We will charge you additional premium for
values reported from the date you acquire
the property.

‘The Additional Condition, Coinsurance, does
not apply to this Extension.

B. Limits Of Insurance

The most we will pay for loss in any one occur-
rence is the applicable Limit of insurance shown in
the Declarations.

Payments under the following coverages will not
increase the applicable Limit of Insurance:

1. Alterations And New Buildings:
2. Civil Authority;

3. Extra Expense; or

4. Extended Business Income.

The amounts of insurance stated in the Interrup-
tion Of Computer Operations Additional Coverage
and the Newly Acquired Locations Coverage Ex-
tension apply in accordance with the terms of
those coverages and are separate from the
Limit(s) of Insurance shown in the Declarations for
any other coverage.

, Loss Conditions

The following conditions apply in addition to the
Common Policy Conditions and the Commercial
Property Conditions.

1. Appraisal

lf we and you disagree on the amount of Net
Income and operating expense or the amount
of loss, either may make written demand for an

appraisal of the loss. In this event, each party -

will select a competent and impartial appraiser.

The two appraisers will select an umpire. If
they cannot agree, either may request that se-
lection be made by a judge of a court having
jurisdiction. The appraisers will state separately
the amount of Net Income and operating ex-
pense or amount of loss. If they fail to agree,
they will submit their differences to the umpire.
A decision agreed to by any two will be bind-
ing. Each party will:

a. Pay its chosen appraiser; and

b. Bear the other expenses of the appraisal
and umpire equally.

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If there is an appraisal, we will still retain our
right to deny the claim,

2. Duties In The Event Of Loss

a. You must see that the following are done in
the event of loss:

(1) Notify the police if a law may have been
broken.

(2) Give us prompt notice of the direct
physical loss or damage. Include a de-
scription of the property involved.

(3) As soon as possible, give us a descrip-
tion of how, when, and where the direct
physical joss or damage occurred.

(4) Take all reasonable steps to protect the
Covered Property from further damage,
and keep a record of your expenses
necessary to protect the Covered Prop-
erty, for consideration in the settlement
of the claim. This will not increase the
Limit of Insurance. However, we will not
pay for any subsequent loss or damage
resulting from a cause of loss that is not
a Covered Cause of Loss. Also, if feasi-
ble, set the damaged property aside and
in the best possible order for examina-
tion.

(5) As often as may be reasonably required,
permit us to inspect the property proving
the loss or damage and examine your
books and records.

Also permit us to take samples of dam-
aged and undamaged property for in-
spection, testing and analysis, and per-
mit us to make copies from your books
and records.

{6} Send us a signed, sworn proof of loss
containing the information we request to
investigate the claim. You must do this
within 60 days after our request. We will
supply you with the necessary forms.

(7) Cooperate with us in the investigation or
settlement of the claim.

(8) If you intend to continue your business,
you must resume all or part of your "op-
erations” as quickly as possible.

b. We may examine any insured under oath,
while not in the presence of any other in-
sured and at such times as may be rea-
sonably required, about any matter relating
to this insurance or the claim, including an
insured's books and records. in the event of
an examination, an insured'’s answers must
be signed.

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3. Loss Determination

a. The amount of Business Income loss will be
determined based on:

(1) The Net Income of the business before
the direct physical loss or damage oc-
curred;

(2) The likely Net Income of the business if
no physical loss or damage had oc-
curred, but not including any Net Income
that would likely have been earned as a
result of an increase in the volume of
business due to favorable business con-
ditions caused by the impact of the Cov-
ered Cause of Loss on customers or on
other businesses;

(3) The operating expenses, including pay-
roll expenses, necessary to resume "op-
erations" with the same quality of ser-
vice that existed just before the direct
physical loss or damage; and

(4) Other relevant sources of information,
including:
{a) Your financial records and account-
ing procedures;

(b) Bills, invoices and other vouchers;
and

(c) Deeds, liens or contracts.

b. The amount of Extra Expense will be de-
termined based on:

(1} All expenses that exceed the normal
operating expenses that would have
been incurred by "operations" during the
“period of restoration” if no direct physi-
cal loss or damage had occurred. We
will deduct. from the total of such ex-
penses:

{a) The salvage vatue that remains of
any property bought for temporary
use during the "period of restoration",
once "operations" are resumed; and

(b) Any Extra Expense that is paid for by
other insurance, except for insurance
that is written subject to the same
pian, terms, conditions and provi-
sions as this insurance; and

(2) Necessary expenses that reduce the
Business Income loss that otherwise
would have been incurred.

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c. Resumption Of Operations
We will reduce the amount of your:

{1} Business Income loss, other than Extra
Expense, to the extent you can resume
your "operations", in whole or in part, by
using damaged or undamaged property
(including merchandise or stock) at the
described premises or elsewhere.

(2) Extra Expense loss to the extent you
can return "operations" to normal and
discontinue such Extra Expense.

d. If you do not resume "operations", or do not
resume "operations" as quickly as possible,
we will pay based on the length of time it
would have taken to resume "operations" as
quickly as possibile.

4, Loss Payment

We will pay for covered loss within 30 days af-
ter we receive the sworn proof of loss, if you
have complied with all of the terms of this Cov-
erage Part and:

a. We have reached agreement with you on
the amount of loss: or

b. An appraisal award has been made.

. Additional Condition

COINSURANCE

lf a Coinsurance percentage is shown in the Dec-
larations, the following condition applies in addition
to the Common Policy Conditions and the Com-
mercial Property Conditions.

We will not pay the full amount of any Business
Income loss if the Limit of Insurance for Business
Income is less than:

1. The Coinsurance percentage shown for Busi-
ness Income in the Declarations; times

2. The sum ctf:

a. The Net Income (Net Profit or Loss before
income taxes), and

b. Operating expenses, including payroll ex-
penses,

that would have been earned or incurred (had
no less occurred) by your "operations" at the
described premises for the 12 months following
the inception, or last previous anniversary date,
of this policy (whichever is later).

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Instead, we will determine the most we will pay us-
ing the following steps:

Step (1): Multiply the Net Income and operating
expense for the 12 months following the
inception, or last previous anniversary
date, of this policy by the Coinsurance
percentage;

Step (2): Divide the Limit of Insurance for the
described premises by the figure deter-
mined in Step (1); and

Step (3): Multiply the total amount of loss by the
figure determined in Step (2).

We will pay the amount determined in Step (3) or
the limit of insurance, whichever is less. For the
remainder, you will either have to rely on other in-
surance or absorb the loss yourself.

In determining operating expenses for the purpose
of applying the Coinsurance condition, the follow-
ing expenses, if applicable, shall be deducted from
the total of all operating expenses:

(1} Prepaid freight — outgoing;
(2} Returns and allowances;
(3} Discounts;

(4) Bad debts;

(5) Collection expenses;

(6) Cost of raw stock and factory supplies
consumed (including transportation
charges):

(7} Cost of merchandise sold (including
transportation charges);

(8} Cost of other supplies consumed ({in-
cluding transportation charges);

(9) Cost of services purchased from outsid-
ers (not employees) to resell, that do noi
continue under contract;

{10} Power, heat and refrigeration expenses
that do not continue under contract (if
Form CP 15 11 is attached);

(11} All ordinary payroll expenses or the
amount of payroll expense excluded {if
Form GP 15 10 is attached); and

{42} Special deductions for mining properties
(royalties unless specifically included in
coverage; actual depletion commonly
known as unit or cost depletion — not
percentage depletion; welfare and re-
tirement fund charges based on ton-
nage; hired trucks).

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EXAMPLE #1 (UNDERINSURANCE)

When: The Net Income and operating

expenses for the 12 months

following the inception, or last

previous anniversary date, of

this policy at the described

premises would have been: $ 400,000
The Coinsurance percentage is: 50%
The Limit of Insurance is: $ 150,000
The amount of loss fs: $ 80,000
Step (1): $400,000 x 50% = $200,000

{the minimum amount of insurance to
meet your Coinsurance requirements)

Step (2): $150,000 + $200,000 = .75
Step (3): $80,000 x .75 = $60,000

We will pay no more than $60, 000. The remaining
$20,000 is not covered.

EXAMPLE #2 (ADEQUATE INSURANCE)

When: The Net income and operating
expenses for the 12 months
following the inception, or last
previous anniversary date, of
this policy at the described

premises would have been: $ 400,000
The Coinsurance percentage is: 50%
The Limit of Insurance is: $ 200,000
The amount of loss is: $ 80,060
The minimum amount of insurance to meet your Co-
insurance requirement is $200,000 ($400,000 x 50%).
Therefore, the Limit of Insurance in this example is

adequate and no penalty applies. We will pay no
more than $80,000 (amount of loss).

This condition does not apply to Extra Expense Cov-
erage.

E. Optional Coverages

If shown as applicable in the Declarations, the fol-
lowing Optional Coverages apply separately to
each item.

1. Maximum Period Of Indemnity

a. The Additional Condition, Coinsurance,
does net apply to this Coverage Form at the
described premises to which this Optional
Coverage applies.

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b. The most we will pay for the total of Busi-
ness income loss and Extra Expense is the

lesser of:

(1) The amount of loss sustained and ex-
penses incurred during the 120 days
immediately following the beginning of

the "period of restoration”; or

(2) The Limit of Insurance shown in the

Declarations.
2. Monthly Limit Of Indemnity

a. The Additional Condition, Coinsurance,
does not apply fo this Coverage Form at the
described premises to which this Optional

Coverage applies.

b. The most we will pay for loss of Business
Income in each period of 30 consecutive
days after the beginning of the “period of

restoration" is:

(1) The Limit of Insurance, multiplied by
(2) The fraction shown in the Declarations

for this Optional Coverage.

EXAMPLE
When: The Limit of Insurance is: $ 120,000

The fraction shown in the

Declarations for this Optional

Coverage is: 1/4

The most we will pay for loss in

each period of 30 consecutive

days is: $ 30,000

($120,000 x 1/4 = $30,000)

If, in this example, the actual

amount of loss is:

Days 1-30: $ 40,000

Days 31-60: $ 20,000

Days 61-90: $ 30,000
$ $0,000

We will pay:

Days 1-30: $ 30,000

Days 31-60: $ 20,000

Days 61-90: $30,000
$ 80,000

The remaining $10,000 is not covered.

3. Business Income Agreed Vaiue
a. To activate this Optional Coverage:

(1) A Business income Report/Work Sheet
must be submitted to us and must show
financial data for your "operations":

(a) During the 12 months prior to the
date of the Work Sheet; and

(b) Estimated for the 12 months imme-
diately following the inception of this
Optional Coverage. ,

{2} The Declarations must indicate that the
Business Income Agreed Value Opticnal
Coverage applies, and an Agreed Value
must be shown in the Declarations. The
Agreed Value should be at least equal
to:

{a} The Coinsurance percentage shown
in the Declarations; multiplied by

(b) The amount of Net Income and op-
erating expenses for the following 12
months you report on the Work
Sheet.

b. The Additional Condition, Coinsurance, is
suspended until:

(1) 12 months after the effective date of this
Optional Coverage; or

(2) The expiration date of this policy;
whichever occurs first.

c. We will reinstate the Additional Condition,
Coinsurance, automatically if you do not
submit a new Work Sheet and Agreed
Value:

(1) Within 12 months of the effective date of
this Opticnal Coverage; or

(2) When you request a change in your
Business Income Limit of Insurance.

d. If the Business Income Limit of Insurance is
less than the Agreed Value, we will not pay
more of any loss than the amount of loss
multiplied by:

(1) The Business Income Limit of Insur-
ance; divided by

(2) The Agreed Value.

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EXAMPLE
When: = The Limit of Insurance is: $100,060
The Agreed Value is: $ 200,000
The amount of loss is: $ 80,000

Step (1): $100,000 = $200,000 = .50
Step (2): .50 x $80,000 = $40,000

We will pay $40,000. The remaining $40,000 is not
covered.

4, Extended Period Of Indemnity

Under Paragraph A.5.c., Extended Business

Income, the number 30 in Subparagraphs

(1){b) and {2)}(b) is replaced by the number 4
shown in the Declarations for this Optional
Coverage.

F. Definitions

1. “Finished stock" means stock you have manu-
factured. 5.

"Finished stock” also includes whiskey and al-
coholic products being aged, unless there is a
Coinsurance percentage shown for Business
Income in the Declarations.

"Finished stock" does not include stock you
have manufactured that is held for sale on the
premises of any retail outlet insured under this
Coverage Part.

2. "Operations" means:

a. Your business activities occurring at the
described premises; and

b. The tenantability of the described premises,
if coverage for Business Income Including
"Rental Value” or "Rental Value" applies.

3. “Period of restoration" means the period of time
that:

a. Begins:

(1) 72 hours after the time of direct physical
loss or damage for Business Income
Coverage; or

(2) immediately after the time of direct
physical loss or damage for Extra Ex-
pense Coverage;

caused by or resulting from any Covered
Cause of Loss at the described premises;
and
b. Ends on the earlier of:
(1) The date when the property at the de-
scribed premises should be repaired,

rebuilt or replaced with reasonable
speed and similar quality; or

(2) The date when business is resumed at a
new permanent location.

6.

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“Period of restoration" does not include any in-
creased period required due to the enforce-
ment of any ordinance or law that:

(1) Regulates the construction, use or re-
pair, or requires the tearing down, of any
property; or

{2) Requires any insured or others to test
for, monitor, clean up, remove, contain,
treat, detoxify or neutralize, or in any
way respond to, or assess the effects of
“pollutants”.

The expiration date of this policy will not cut
short the "period of restoration".

. "Pollutants" means any solid, liquid, gaseous or

thermal irritant or contaminant, including
smoke, vapor, soot, fumes, acids, aikalis,
chemicals and waste. Waste includes materials
to be recycled, reconditioned or reclaimed.

"Rental Value" means Business Income that
consists of:

a. Net Income (Net Profit or Loss before in-
come taxes) that would have been earned
or incurred as rental income from tenant
occupancy of ihe premises described in the
Declarations as furnished and equipped by
you, including fair rental value of any por-
tion of the described premises which is oc-
cupied by you; and

b. Continuing normal operating expenses
incurred in connection with that premises,
including:

{1} Payroll; and

{2) The amount of charges which are the
legal obligation of the tenant(s) but
would otherwise be your obligations.

"Suspension" means:

a. The slowdown or cessation of your busi-
ness activities; or

b. That a part or all of the described premises
is rendered untenantable, if coverage for
Business Income Including "Rental Value"
or "Rental Value" applies.

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. INSURANCE

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COMMERCIAL PROPERTY

COMMERCIAL PROPERTY CONDITIONS

This Coverage Part is subject to the following conditions, the Common Policy Conditions and applicable Loss
Conditions and Additional Conditions in Commercial Property Coverage Forms.

CONCEALMENT, MISREPRESENTATION OR
FRAUD

This Coverage Part is void in any case of fraud by
you as it relates to this Coverage Part at any time.
It is also void if you or any other insured, at any
time, intentionally conceal or misrepresent a
material fact concerning: Oo

4. This Coverage Part;

2. The Covered Property;

3. Your interest in the Covered Property; or
4, Aclaim under this Coverage Part.

. CONTROL OF PROPERTY

Any act or neglect of any person other than you
beyond your direction or control will not affect this
insurance.

The breach of any condition of this Coverage Part
at any one or more locations will not affect
coverage at any location where, at the time of loss
or damage, the breach of condition does not exist.

UNDER TWO OR MORE
COVERAGES
lf two or more of this policy's coverages apply to

the same loss or damage, we will not pay more
than the actual amount of the loss or damage.

. LEGAL ACTION AGAINST US

No one may bring a legal action against us under
this Coverage Part unless:

1. There has been full compliance with all of the
terms of this Coverage Part; and

2, The action is brought within 2 years after the
date on which the direct physical loss or
damage occurred.

LIBERALIZATION

if we adopt any revision that would broaden the
coverage under this Coverage Part without
additional premium within 45 days prior to or
during the policy period, the broadened coverage
will immediately apply to this Coverage Part.

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F. NO BENEFIT TO BAILEE

No person or organization, other than you, having
custody of Covered Property wiil benefit from this
insurance.

G. OTHER INSURANCE

1. You may have cither insurance subject to the
same plan, terms, conditions and provisions as
the insurance under this Coverage Part. lf you
do, we wiil pay our share of the covered loss or
damage. Our share is the proportion that the
applicable Limit of Insurance under this
Coverage Part bears to the Limits of Insurance
of all insurance covering on the same basis.

2. if there is other insurance covering the same
joss or damage, other than that described in 1.
above, we will pay only for the amount of
covered loss or damage in excess of the
amount due from that other insurance, whether
you can collect on it or not. But we will not pay
more than the applicable Limit of Insurance.

H. POLICY PERIOD, COVERAGE TERRITORY

Under this Coverage Part:
1. We cover loss or damage commencing:

a. During the policy period shown in the
Declarations; and

b. Within the coverage territory.
2. The coverage territory is:

a. The United States of America (including its
territories and possessions);

b. Puerto Rico; and
c. Canada.

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l TRANSFER OF RIGHTS OF RECOVERY 1. Prior to a loss to your Covered Property or
AGAINST OTHERS TO US Covered Income.
If any person or organization to or for whom we 2. After a loss to your Covered Property or
make payment under this Coverage Part has Covered Income only if, at time of Joss, that
rights to recover damages from another, those party is one of the following:
righis are transferred fo us fo the extent of our a. Someone insured by this insurance:
payment. That person or organization must do .
everything necessary to secure our rights and b. A business firm:
must do nothing after loss to impair them. But you (1) Owned or controlled by you; or
may waive your rights against another party in

(2} That owns or controls you; or
c. Your tenant.
This will not restrict your insurance.

writing:

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COMMON POLICY CONDITIONS

‘A. Cancellation

4. The first Named Insured shown in the Declara-
tions may cancel this policy by mailing or de-
livering to us advance written notice of cancel-
iation.

2. We may cancel this policy by mailing or deliv-

ering to the first Named Insured written notice -

of cancellation at least: .

a. 10 days before the effective date of cancel-
lation if we cancel for nonpayment of pre-
mium; or

b. 30 days before the effective date of cancel-
lation if we cancel for any other reason.

3. We will mail or deliver our notice to the first
Named Insured's last mailing address known to
us.

4. Notice of canceilation will state the effective
date of cancellation. The policy period will end
on that date.

5. If this policy is cancelled, we will send the first
Named Insured any premium refund due. !f we
cancel, the refund will be pro rata. If the first
Named Insured cancels, the refund may be
less than pro rata. The cancellation will be ef-
fective even if we have not made or offered a
refund.

6. If notice is mailed, proof of mailing will be suf-
ficient proof of notice.

. Changes

This policy contains all the agreements between
you and us concerning the insurance afforded.
The first Named Insured shown in the Declara-
tions is authorized to make changes in the terms
of this policy with our consent. This policy's terms
can be amended or waived only by endorsement
issued by us and made a part of this policy.

. Examination Of Your Books And Records

We may examine and audit your books and rec-
ords as they relate to this policy at any time during
the policy period and up to three years afterward.

DB. Inspections And Surveys

1. We have the right to:
a. Make inspections and surveys at any time;

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All Coverage Parts included in this policy are subject to the following conditions.

b, Give you reports on the conditions we find;
and ,

c. Recommend changes.

2. We are not obligated to make any inspections,
surveys, reports or recommendations and any
such actions we do undertake relate only to in-
surability and the premiums to be charged. We
do not make safety inspections. We do not un-
dertake to perform the duty of any person or
organization to provide for the health or safety
of workers or the public. And we do not warrant
that conditions:

a. Are safe or healthful; or

b. Comply with laws, regulations, codes or
standards.

3. Paragraphs 1. and 2. of this condition apply
not only to us, but also to any rating, advisory,
rate service or similar organization which
makes insurance inspections, surveys, reports
or recommendations.

4, Paragraph 2. of this condition does not apply
to any inspections, surveys, reports or recom-
mendations we may make relative to certifica-
tion, under state or municipal statutes, ordi-
narices or regulations, of boilers, pressure ves-
sels or elevators.

. Premiums

The first Named Insured shown in the Declara-
tions:

1. Is responsible for the payment of all premiums;
and

2.. Will be the payee for any return premiums we
pay.

. Transfer Of Your Rights And Duties Under

This Policy

Your rights and duties under this policy may not
be transferred without our written consent except
in the case of death of an individual named in-
sured.

If you die, your rights and duties will be trans-
ferred to your legal representative but only while
acting within the scope of duties as your legal rep-
resentative, Until your legal representative is ap-
pointed, anyone having proper temporary custody
of your property will have your rights and duties
but only with respect to that property.

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THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
EXCLUSION OF CERTAIN COMPUTER-RELATED LOSSES

This endorsement modifies insurance provided under the following:

COMMERCIAL INLAND MARINE COVERAGE PART

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COMMERCIAL PROPERTY COVERAGE PART
CRIME AND FIDELITY COVERAGE PART
STANDARD PROPERTY POLICY

A. We will not pay for loss ("loss") or damage caused

directly or indirectly by the following. Such loss
("loss") or damage is excluded regardless of any
other cause or event that contributes concurrently
ar in any sequence to the loss ("loss") or damage.

1, The failure, malfunction or inadequacy of:

a. Any of the following, whether belonging to
any insured or to others:

(1} Computer hardware, including micro-
processors;

(2) Computer application software;

(3} Computer operating systems and related
software;

(4) Computer networks;

(5) Microprocessors (computer chips} not
part of any computer system; or

(6) Any other computerized or electronic
equipment or components; or

b. Any other products, and any services, data
or functions that directly or indirectly use or
rely upon, in any manner, any of the items
listed in Paragraph A.1.a. of this endorse-
ment:

due to the inability to correctly recognize, proc-
ess, distinguish, interpret or accept one or
more dates or times. An example ts the inability
of computer software to recognize the year
2000.

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2. Any advice, consultation, design, evaluation,

inspection, installation, maintenance, repair,
replacement or supervision provided or done by
you or for you to determine, rectify or test for,
any potential or actual problems described in
Paragraph A.1. of this endorsement.

B. If an excluded Cause of Loss as described in

Paragraph A. of this endorsement results:

1. In a Covered Cause of Loss under the Crime
and Fidelity Coverage Part, the Commercial
Inland Marine Coverage Part or the Standard
Property Policy; or ,

2. Under the Commercial Property Coverage Part:

a. In a “Specified Cause of Loss", or in eleva-
tor collision resulting from mechanical
breakdown, under the Causes of Loss ~
Special Form; or

b. In a Covered Cause of Loss under the
Causes Of Loss — Basic Form or the
Causes Of Loss — Broad Form;

we will pay only for the loss ("loss") or damage
caused by such "Specified Cause of Loss", eleva-
tor collision, or Covered Cause of Loss.

. We will not pay for repair, replacement or modifi-

cation of any items in Paragraphs A.1.a. and
A.1.b. of this endorsement to correct any deficien-
cies or change any features.

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COMMERCIAL PROPERTY
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CAUSES OF LOSS —- SPECIAL FORM

Words and phrases that appear in quotation marks have special meaning. Refer to Section G., Definitions.

A. Covered Causes Of Loss

When Special is shown in the Declarations,
Covered Causes of Loss means Risks Of Direct
Physical Loss unless the loss is:

1. Excluded in Section B., Exclusions; or
2. Limited in Section C., Limitations;
that follow.

B. Exclusions

1. We will not pay for loss or damage caused
directly or indirectly by any of the following.
Such loss or damage is excluded regardless of
any other cause or event that contributes
concurrently or in any sequence to the loss.

a. Ordinance Or Law
The enforcement of any ordinance or law:

(1) Regulating the construction, use or
repair of any property; or

(2) Requiring the tearing down of any
property, including the cost of removing
its debris.

This exclusion, Ordinance Or Law, applies
whether the loss results from:

(a) An ordinance.or law that is enforced
even if the property has not been
damaged; or

(b) The increased costs incurred to
comply with an ordinance or law in
the course of construction, repair,
renovation, remodeling or demolition
of property, or removal of its debris,
following a physical loss to that
property.

b, Earth Movement

(1) Earthquake, including any earth sinking,
rising or shifting related to such event;

{2) Landslide, including any earth sinking,
rising or shifting related to such event;

(3) Mine subsidence, meaning subsidence
of a man-made mine, whether or not
mining activity has ceased;

(4) Earth sinking (other than sinkhole
collapse), rising or shifting including soil
conditions which cause settling, cracking
or other disarrangement of foundations
or other parts of realty. Soil conditions
include contraction, expansion, freezing,
thawing, erosion, improperly compacted
soil and the action of water under the
ground surface.

But if Earth Movement, as described in b.(1)
through {4} above, results in fire or
explosion, we will pay for the loss or
damage caused by that fire or explosion.

(5) Volcanic eruption, explosion or effusion.
But if volcanic eruption, explosion or
effusion results in fire, building glass
breakage or Volcanic Action, we will pay
for the loss or damage caused by that
fire, building glass breakage or Volcanic
Action.

Volcanic Action means direct loss or
damage resulting from the eruption of a
volcano when the joss or damage is
caused by:

(a) Airborne volcanic blast or airborne
shock waves;

(b) Ash, dust or particulate matter; or
{c) Lava flow.

All volcanic eruptions that occur within
any 168-hour period will constitute a
single occurrence.

Volcanic Action does not include the
cost to remove ash, dust or particulate
matter that does not cause direct
physical floss or damage to the
described property.

c. Governmental Action

Seizure or destruction of property by order
of governmental authority.

But we will pay for loss of damage caused
by or resulting from acts of destruction
ordered by governmental authority and
taken at the time of a fire to prevent its
spread, if the fire would be covered under
this Coverage Part.

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Nuclear reaction or radiation, or radioactive
contamination, however caused.

But if nuclear reaction or radiation, of
radioactive contamination, results in fire, we
will pay for the loss or damage caused by
that fire.

. Utility Services

The failure of power, communication, water
or other utility service supplied to the
described premises, however caused, if the
failure:

(1) Originates away from the described
premises; or

(2) Originates at the described premises,
but only if such failure involves
equipment used to supply the utility
service to the described premises from a
source away from the described
premises.

Failure of any utility service includes lack of
sufficient capacity and reduction in supply.

Loss or damage caused by a surge of
power is also excluded, if the surge would
not have occurred but for an event causing
a failure of power.

But if the failure or surge of power, or the
- failure of communication, water or other
utility service, results in a Covered Cause of
Loss, we will pay for the loss or damage
caused by that Covered Cause of Loss.

Communication services include but are not
limited to service relating to Internet access
or access to any electronic, cellular or
satellite network.

. War And Military Action
(1) War, including undeclared or civil war;

(2) Warlike action by a military force,
including action in hindering or
defending against an actual or expected
attack, by any government, sovereign or
other authority using military personnel
or other agents; or

(3) Insurrection, rebellion, revolution,
usurped power, or action taken by
governmental authority in hindering or
defending against any of these.

d. Nuclear Hazard g. Water

(1) Flood, surface water, waves, tides, tidal
waves, overflow of any body of water, or *
their spray, all whether driven by wind or
not;

(2) Mudslide or mudfiow;

(3) Water that backs up or overflows from a
sewer, drain or sump; or

{4) Water under the ground surface
pressing on, or flowing or seeping
through:

(a) Foundations, walls, floors or paved
surfaces;

{b) Basements, whether paved or not; or

(c) Doors, windows or other openings.

But if Water, as described in g.(1) through
g.(4) above, results in fire, explosion or
sprinkler leakage, we will pay for the loss or
damage caused by that fire, explosion or
sprinkler leakage.

h. "Fungus", Wet Rot, Dry Rot And Bacteria

Presence, growth, proliferation, spread or
any activity of "fungus", wet or dry rot or
bacteria.

But if "fungus", wet or dry rot or bacteria
results in a “specified cause of loss", we will
pay for the loss or damage caused by that
“specified cause of loss".

This exclusion does not apply:

1. When "fungus", wet or dry rot or bacteria
results from fire or lightning; or

2. To the extent that coverage is provided
in the Additional Coverage — Limited
Coverage For "Fungus", Wet Rot, Dry
Rot And Bacteria with respect to loss or
damage by a cause of loss other than
fire or lightning.

Exclusions B.1.a. through B.1.h. apply whether
or not the loss event results in widespread
damage or affects a substantial area.

. We will not pay for loss or damage caused by

or resulting from any of the following:

a. Artificially generated electrical, magnetic or
electromagnetic energy that damages,
disturbs, disrupts or otherwise interferes
with any:

(1) Electrical or electronic wire, device,
appliance, system or network; or

(2} Device, appliance, system or network
utilizing cellular or satellite technology.

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For the purpose of this exclusion, electrical,
magnetic or electromagnetic energy
includes but is not limited to:

{a) Electrical current, including arcing;

(b) Electrical charge produced or
conducted by a magnetic or
electromagnetic field;

{c) Pulse of electromagnetic energy; or

(d) Electromagnetic waves or
microwaves.

But if fire results, we will pay for the loss or
damage caused by that fire.

b. Delay, loss of use or loss of market.
c. Smoke, vapor or gas from agricultural

smudging or industrial operations.

d. (1} Wear and tear;

(2) Rust or other corrosion, decay,
deterioration, hidden or latent defect or
any quality in property that causes it to
damage or destroy itself;

(3) Smog;

(4) Settling, cracking, shrinking = or
expansion;

(5) Nesting or infestation, or discharge or
release of waste products or secretions,
by insects, birds, rodents or other
animals.

(6) Mechanical breakdown, including
rupture or bursting caused by centrifugal
force. But if mechanical breakdown
results in elevator collision, we will pay
for the loss or damage caused by that
elevator collision.

(7) The following causes of loss to personal
property:
(a} Dampness or dryness of
atmosphere;

{b} Changes in or extremes of
temperature; or

(¢) Marring or scratching.

But if an excluded cause of loss that is
listed in 2.d.(1) through (7) results in a
"specified cause of loss" or building glass
breakage, we will pay for the loss or
damage caused by that "specified cause of
loss" or building glass breakage.

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. Explosion of steam boilers, steam pipes,

steam engines or steam turbines owned or
leased by you, or operated under your
control. But if explosion of steam boilers,
steam pipes, steam engines or steam
turbines results in firé or combustion
explosion, we will pay for the loss or
damage caused by that fire or combustion
explosion. We will also pay for loss or
damage caused by or resulting from the
explosion of gases or fuel within the fumace
of any fired vessel or within the flues or
passages through which the gases of
combustion pass.

, Continuous or repeated seepage or leakage

of water, or the presence or condensation
of humidity, moisture or vapor, that occurs
over a period of 14 days or more.

. Water, other liquids, powder or molten

material that leaks or flows from plumbing,
heating, air conditioning or other equipment
(except fire protective systems) caused by
or resulting from freezing, unless:

{4} You do your best to maintain heat in the
building or structure; or

{2} You drain the equipment and shut off
the supply if the heat is not maintained.

h. Dishonest er criminal act by you, any of

your __ partners, members, officers,
managers, employees (including leased
employees), directors, trustees, authorized
representatives or anyone to whom you
entrust the property for any purpose:

(1) Acting alone or in collusion with others;
or

(2) Whether or not occurring during the
hours of employment.

This exclusion dees not apply to acts of
destruction by your employees (including
leased employees); but theft by employees
(including leased employees} is not
covered.

i. Voluntary parting with any property by you

or anyone else to whom you have entrusted
the property if induced to do so by any
fraudulent scheme, trick, device or false
pretense.

j. Rain, snow, ice or sleet to personal property

in the open.

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k. Collapse, including any of the following
conditions of property or any part of the
property:

(1) An abrupt falling down or caving in;

(2) Loss of structural integrity, including
separation of parts of the property or
property in danger of falling down or
caving in; or

(3) Any cracking, bulging, sagging, bending,
leaning, settling, shrinkage or expansion
as such condition relates to (1) or (2)
above.

But if collapse results in a Covered Cause
of Loss at the described premises, we will
pay for the loss or damage caused by that
Covered Cause of Loss.

This exclusion, k., does not apply:

(a) To the extent that coverage is
provided under the Additional
Coverage — Collapse; or

(b) To collapse caused by one or more
of the following:

(i} The "specified causes of loss";
{ii} Breakage of building glass;

{iti) Weight of rain that collects on a
roof; or

(iv) Weight of people or personal
property.
|. Discharge, dispersal, seepage, migration,
release or escape of "pollutants" unless the
discharge, dispersal, seepage, migration,
release or escape is itself caused by any of
the "specified causes of loss". But if the
discharge, dispersal, seepage, migration,
release or escape of “pollutants” results in a
"specified cause of loss", we will pay for the
loss or damage caused by that "specified
cause of loss".

This exclusion, L, does not apply to
damage to glass caused by chemicais
applied to the glass.

m. Neglect of an insured to use all reasonable
means to save and preserve property from
further damage at and after the time of loss.

3. We will not pay for loss or damage caused by
er resulting from any of the following, 3.a.
through 3.c. But if an excluded cause of loss
that is listed in 3.a. through 3.c. results in a
Covered Cause of Loss, we will pay for the loss
or damage caused by that Covered Cause of
Loss,

a. Weather conditions. But this exclusion only

applies if weather conditions contribute in
any way with a cause or event excluded in
Paragraph 1. above to produce the loss or
damage.

, Acts or decisions, including the failure to act

or decide, of any person, group,
organization or governmental body.

cs. Faulty, inadequate or defective:

(1) Planning, zoning, development,
surveying, siting;

{2) Design, specifications, workmanship,
repair, construction, renovation,
remodeling, grading, compaction;

(3) Materials used in repair, construction,
renovation or remodeling; or

(4) Maintenance;

of part or all of any property on or off the
described premises.

4, Special Exclusions

The following provisions apply only to the
specified Coverage Forms.

a. Business Income (And Extra Expense)

Coverage Form, Business Income
(Without Extra Expense) Coverage Form,
Or Extra Expense Coverage Form

We will not pay for:
(1) Any loss caused by or resulting from:

(a) Damage or destruction of “finished
stock"; or

{b) The time required to reproduce
“finished stock”.

This exclusion does not apply to Extra
Expense.

(2} Any loss caused by or resulting from
direct physical loss or damage to radio
or felevision antennas (including satellite
dishes) and their lead-in wiring, masts or
towers.

(3) Any increase of loss caused by or
resulting from:

(a) Delay in rebuilding, repairing or
replacing the property or resuming
"operations", due to interference at
the location of the rebuilding, repair
or replacement by strikers or other
persons; or

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(b) Suspension, lapse or cancellation of
any license, lease or contract. But if
the suspension, lapse or cancellation
is directly caused by the
"suspension" of "operations", we will
cover such loss that affects your
Business Income during the "period
of restoration" and any extension of
the "period of restoration" in
accordance with the ferms of the
Extended Business Income
Additional Coverage and the
Extended Period Of Indemnity
Optional Coverage or any variation
of these. ,

{4) Any Extra Expense caused by or
resulting from suspension, lapse or
cancellation of any license, lease or
contract beyond the “period = of
restoration".

(5) Any other consequential loss.
b. Leasehold Interest Coverage Form

(1) Paragraph B.1.a., Ordinance Or Law,
dees not appiy to insurance under this
Coverage Form.

(2) We will not pay for any loss caused by:
(a) Your cancelling the lease;

(b) The suspension, lapse or
cancellation of any license: or

(c) Any other consequential loss.
c. Legal Liability Coverage Form

(1) The following exclusions do not apply to

insurance under this Coverage Form:

(a) Paragraph B.1.a., Ordinance Or
Law;

(b} Paragraph B.1.c., Governmental
Action;

(c) Paragraph B.1.d., Nuclear Hazard;

(d} Paragraph B.1.¢., Utility Services:
and

(e) Paragraph B.1.f., War And Military
Action.

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(2) The following additional exclusions
apply to insurance under this Coverage
Form:

{a) Contractual Liability

We will not defend any claim or
"suit", or pay damages that you are
legally liable to pay, solely by reason
of your assumption of liability in a
contract or agreement. But this
exclusion does not apply to a written
lease agreement in which you have
assumed liability for building damage
resulting from an actual or attempted
burglary or robbery, provided that:

() Your assumption of liability was
executed prior to the accident;
and

{ii) The building is Covered Property
under this Coverage Form.

(b) Nuclear Hazard .

We will not defend any claim or
"suit", or pay any damages, loss,
expense or obligation, resulting from
nuclear reaction or radiation, or
radioactive contamination, however
caused.

5. Additional Exclusion

The following provisions apply only to the
specified property.

LOSS OR DAMAGE TO PRODUCTS

We will not pay for loss or damage to any
merchandise, goods or other product caused
by or resulting from error or omission by any
person or entity (including those having
possession under an arrangement where work
or a portion of the work is outsourced) in any
stage of the development, production or use of
the product, including planning, testing,
processing, packaging, installation,
maintenance or repair. This exclusion applies
to any effect that compromises the form,
substance or quality of the product. But if such
error or omission results in a Covered Cause of
loss, we will pay for the loss or damage
caused by that Covered Cause of Loss.

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C. Limitations

The following limitations apply to all policy forms
and endorsements, unless otherwise stated.

1. We will not pay for loss of or damage to

2. We will not pay for loss of or damage to the
following types of property unless caused by
the "specified causes of loss" or building glass
breakage:

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property, as described and limited in this
section. In addition, we will not pay for any loss
that is a consequence of loss or damage as
described and limited in this section.

a. Steam boilers, steam pipes, steam engines
or steam turbines caused by or resulting
from any condition or event inside such
equipment. But we will pay for loss of or
damage to such equipment caused by or
resulting from an explosion of gases or fuel
within the furnace of any fired vessel or
within the flues or passages through which
the gases of combustion pass.

b. Hot water boilers or other water heating
equipment caused by or resulting from any
condition or event inside such boilers or
equipment, other than an explosion.

c. The interior of any building or structure, or
to personal property in the buliding or

structure, caused by or resulting from rain,.

snow, sleet, ice, sand or dust, whether
driven by wind or not, unless:

(1) The building or structure first sustains
damage by a Covered Cause of Loss to
its roof or walls through which the rain,
snow, sleet, ice, sand or dust enters; or

(2) The loss or damage is caused by or
results from thawing of snow, sleet or
ice on the building or structure.

d. Building materials and supplies not
attached as part of the building or structure,
caused by or resulting from theft.

However, this limitation does not apply to:

(1) Building materials and supplies held for
sale by you, unless they are insured
under the Builders Risk Coverage Form:
or

{2) Business Income Coverage or Extra
Expense Coverage.

e. Property that is missing, where the only
evidence of the loss or damage is a
shortage disclosed on taking inventory, or
other instances where there is no physical
evidence to show what happened to the
property.

f. Property that has been transferred to a
person or to a place outside the described
premises on.the basis of unauthorized
instructions.

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a. Animals, and then only if they are killed or
their destruction is made necessary.

b. Fragile articles such as statuary, marbles,
chinaware and porcelains, if broken. This
restriction does not apply to:

(1) Glass; or
(2) Containers of property held for sale.
c. Builders' machinery, tools and equipment

owned by you or entrusted to you, provided
such property is Covered Property.

However, this limitation does not apply:

(1) if the property is located on or within 100
feet of the described premises, unless
the premises is insured under the
Builders Risk Coverage Form; or

(2) To Business Income Coverage or to
Extra Expense Coverage.

. The special limit shown for each category, a.

through d., is the total limit for loss of or
damage to all property in that category. The
special limit applies to any one occurrence of
theft, regardless of the types or number of
articles that are jiost or damaged in that
occurrence. The special limits are:

a. $2,500 for furs, fur garments and garments
trimmed with fur.

b. $2,500 for jewelry, watches, watch
movements, jewels, pearls, precious and
semi-precious stones, bullion, gold, silver,
platinum and other precious alloys or
metals. This limit does not apply to jewelry
and watches worth $100 or less per item.

c. $2,500 for patterns, dies, molds and forms.

d. $250 for stamps, tickets, including lottery
tickets held for saije, and letters of credit.

These special limits are part of, not in addition
to, the Limit of Insurance applicable to the
Covered Property.

This limitation, C.3., does not apply to Business
Income Coverage or to Extra Expense
Coverage.

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4, We will not pay the cost to repair any defect to 3.

a system or appliance from which water, other
liquid, powder or molten material escapes. But
we will pay the cost to repair or replace
damaged parts of fire-extinguishing equipment
if the damage:

a. Results in discharge of any substance from
an automatic fire protection system; or

b. Is directly caused by freezing.

However, this limitation does not apply to
Business Income Coverage or to Extra
Expense Coverage.

D. Additional Coverage — Collapse 4,

The coverage provided under this Additional
Coverage — Collapse applies only to an abrupt
collapse as described and limited in D.1. through
D.7.

1. For the purpose of this Additional Coverage —
Collapse, abrupt collapse means an abrupt
falling down or caving in of a building or any
part of a building with the result that the
building or part of the building cannot be
occupied for its intended purpose.

2. We will pay for direct physical loss cr damage
to Covered Property, caused by abrupt
collapse of a building or any part of a building
that is insured under this Coverage Form or
that contains Covered Property insured under
this Coverage Form, if such collapse is caused
by one or more of the following:

a. Building decay that is hidden from view,
, unless the presence of such decay is
known to an insured prior to collapse;

b. Insect or vermin damage that is hidden from.
view, unless the presence of such damage

is Known to an insured prior to collapse; 5.

c. Use of defective material or methods in
construction, remodeling or renovation if the
abrupt collapse occurs during the course of
the construction, remodeling or renovation.

d. Use of defective material or methods in
construction, remodeling or renovation if the
abrupt collapse occurs after the
construction, remodeling or renovation is
complete, but only if the collapse is caused
in part by:

(1) A cause of loss listed in 2.a. or 2.b.;

(2) One or more of the "specified causes of
loss";

(3) Breakage of building glass:

(4) Weight of people cr personal property;
or

(5) Weight of rain that collects on a roof.

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This Additional Coverage — Collapse does
not apply to:

a. A building or any part of a building that is in
danger of falling down or caving in;

b. A part of a building that is standing, even if
it has separated from another part of the
building; or

c. A building that is standing or any part of a
building that is standing, even if it shows
evidence of cracking, bulging, sagging,
bending, leaning, settling, shrinkage or
expansion.

With respect to the following property:

a. Outdoor radio or television antennas
(including satellite dishes) and their lead-in
wiring, masts or towers:

Awnings, gutters and downspouts:
Yard fixtures;

Outdoor swimming pools;

Fences;

Piers, wharves and docks;

Beach or diving platforms or
appurtenances,

h. Retaining walls; and
Walks, roadways and other paved surfaces;

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if an abrupt collapse is caused by a cause of
loss listed in 2.a. through 2.d., we will pay for
loss or damage to that property only if:

(1) Such loss or damage is a direct result of
the abrupt collapse of a building insured
under this Coverage Form; and

(2) The property is Covered Property under
this Coverage Form.

If personal property abruptly falls down or
caves in and such collapse is not the result of
abrupt collapse of a building, we will pay for
loss or damage to Covered Property caused by
such collapse of personal property only if:

a. The collapse of personal property was
caused by a cause of loss listed in 2.a.
through 2.d.;

b. The personal property which collapses is
inside a building; and

c. The property which collapses is not of a
kind listed in 4., regardless of whether that
kind of property is considered to be
personai property or real property.

The coverage stated in this Paragraph 5. does
not apply to personal property if marring and/or
scratching is the only damage to that personal
property caused by the collapse.

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6. This Additional Coverage ~ Collapse does not 3. The coverage described under £.2. of this

apply to personal property that has not abruptly
fallen down or caved in, even if the personal
property shows evidence of cracking, bulging,
sagging, bending, leaning, settling, shrinkage
or expansion.

. This Additional Coverage — Collapse will not
increase the Limits of Insurance provided [In
this Coverage Part.

. The term Covered Cause of Loss includes the
Additional Coverage — Collapse as described
and fimited in D.1. through D.7.

Limited Coverage is limited to $15,000.
Regardless of the number of claims, this limit is
the most we will pay for the total of all loss or
damage arising out of all occurrences of
"specified causes of loss" (other than fire or
lightning) and Flood which take place in a
12-month period (starting with the beginning of
the present annual policy period}. With respect
to a particular occurrence of loss which results
in "fungus", wet or dry rot or bacteria, we will
not pay more than a total of $15,600 even if the

“fungus”, wet or dry rot or bacteria continues to —

£. Additional Coverage — Limited Coverage For be present or active, or recurs, in a later policy
"Fungus", Wet Rot, Dry Rot And Bacteria period.

1, The coverage described in E.2. and E.6. only 4. The coverage provided under this Limited

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applies when the "fungus", wet or dry rot or
bacteria is the result of one or more of the
following causes that occurs during the policy
period and only if all reasonable means were
used to save and preserve the property from
further damage at the time of and after that
occurrence.

a. A"specified cause of loss" other than fire or
lightning; or

b. Flood, if the Flood Coverage Endorsement
applies to the affected premises.

. We will pay for loss or damage by "fungus",
wet or dry rot or bacteria. As used in this
Limited Coverage, the term loss or damage
means:

a. Direct physical loss or damage to Covered
Property caused by “fungus”, wet or dry rot
or bacteria, including the cost of removal of
the "fungus", wet or dry rot or bacteria;

b. The cost to tear out and replace any part of
the building or other property as needed to
gain access to the "fungus", wet or dry rot
or bacteria; and

c. The cost of testing performed after removal,
repair, replacement or restoration of the
damaged property is completed, provided
there is a reason to believe that "fungus",
wet or dry rot or bacteria are present.

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Coverage does not increase the applicable
Limit of Insurance on any Covered Property. If
a particular occurrence results in loss or
damage by "fungus", wet or dry rot or bacteria,
and other loss or damage, we will not pay
more, for the total of all loss or damage, than
the applicable Limit of Insurance on the
affected Covered Property.

lf there is covered loss or damage to Covered
Property, not caused by "fungus", wet or dry rot
or bacteria, loss payment will not be limited by
the terms of this Limited Coverage, except fo
the extent that "fungus", wet or dry rot or
bacteria causes an increase in the foss. Any
such. increase in the loss will be subject to the
terms of this Limited Coverage.

. The terms of this Limited Coverage da not

increase or reduce the coverage provided
under Paragraph F.2, (Water Damage, Other
Liquids, Powder Cr Molten Material Damage)
of this Causes Of Loss Form or under the
Additional Coverage — Collapse.

. The following, 6.a. or 6.b., applies only if

Business Income and/or Extra Expense
Coverage applies to the described premises
and only if the "suspension" of "operations"
satisfies all terms and conditions of the
applicable Business Income and/or Extra
Expense Coverage Form.

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a. If the loss which resulted in "fungus", wet or
dry rot or bacteria does not in itself
necessitate a "suspension" of “operations”,
but such "suspension" is necessary due to
loss or damage to property caused by
"fungus", wet or dry rot or bacteria, then our
payment under Business Income and/or
Extra Expense is limited to the amount of
loss and/or expense sustained in a period
of not more than 30 days. The days need
not be consecutive.

b. If a covered "suspension" of "operations"
was caused by loss or damage.other than
"fungus", wet or dry rot or bacteria but
remediation of "fungus", wet or dry rot or
bacteria prolongs the "period of restoration’,
we will pay for loss and/or expense
sustained during the delay (regardiess of
when such a delay occurs during the
"period of restoration"), but such coverage
is limited to 30 days. The days need not be
consecutive.

F. Additional Coverage Extensions

1. Property In Transit

This Extension applies only to your personal
property to which this form applies.

a. You may extend the insurance provided by
this Coverage Part to apply to your personal
property (other than property in the care,
custody or control of your salespersons) in
transit more than 100 feet from the
described premises. Property must be in or
on a motor vehicle you own, lease or
operate while between points in the
coverage territory.

b. Loss or damage musi be caused by or
result from one of the following causes of
loss:

(1) Fire, lightning, explosion, windstorm or
hail, riot or civil commotion, or
vandalism.

(2) Vehicle collision, upset or overturn.
Collision means accidental contact of
your vehicle with another vehicle or
object. It does not mean your vehicle's
contact with the roadbed.

(3) Thefi of an entire bale, case or package
by forced entry into a securely locked
body or compartment of the vehicle.
There must be visible marks of the
forced entry.

c. The most we will pay for loss or damage
under this Extension is $5,000.

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This Coverage Extension is additional
insurance. The Additional Condition,
Coinsurance, does not apply to this Extension.

. Water Damage, Other Liquids, Powder Or

Molten Material Damage

lf loss or damage caused by or resulting from
covered water or other liquid, powder or molten
material damage Joss occurs, we will also pay
the cost to tear out and replace any part of the
building or structure to repair damage to the
system or appliance from which the water or
other substance escapes. This Coverage
Extension does not increase the Limit of
Insurance.

3. Glass

a. We will pay for expenses incurred fo put up
temporary pilates or board up openings if
repair or replacement of damaged glass is
delayed.

b. We will pay for expenses incurred to
remove or replace obstructions when
repairing or replacing glass that is part of a
building. This does not include removing or
replacing window displays.

This Coverage Extension, F.3., does not
increase the Limit of Insurance.

G. Definitions
1. "Fungus" means any type or form of fungus,

including mold or mildew, and any mycotoxins,
spores, scents or by-products produced or
released by fungi.

. "Specified causes of loss" means the following:

fire; lightning; explosion; windstorm or hail;
smoke; aircraft or vehicles; riot or civil
commotion; vandalism; leakage from
fire-extinguishing equipment; sinkhole collapse;
volcanic action; falling objects; weight of snow,
ice or sleet; water damage.

a. Sinkhole collapse means the sudden
sinking or collapse of land into underground
empty spaces created by the action of
water on limestone or dolomite. This cause
of loss does not include:

(1) The cost of filling sinkholes; or

(2) Sinking or collapse of land inte
man-made underground cavities.

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b. Falling objects does not include loss or
damage to:

(1} Personal property in the open; or

(2) The interior of a building or structure, or
property inside a building or structure,
unless the roof or an outside wall of the
building or structure is first damaged by
a falling object.

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c. Water damage means accideniai discharge
or leakage of water or steam as the direct
result of the breaking apart or cracking of a
plumbing, heating, air conditioning or other
system or appliance (other than a sump
system including its related equipment and
parts), that is located on the described
premises and contains water or steam.

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COMMERCIAL PROPERTY
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THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

TENNESSEE CHANGES — CANCELLATION
AND NONRENEWAL

This endorsement modifies insurance provided under the following:

STANDARD PROPERTY POLICY

A. CANCELLATION

Paragraph 2. of the CANCELLATION Common Policy
Condition is replaced by the following:

2, We may cancel this policy by giving to the first
Named Insured written notice of cancellation at
least:

a. 10 days before the effective date of cancel-
lation if we cancel for nonpayment of pre-
mium; or

b. 30 days before the effective date of cancel-
lation if we cancel for any other reason.

Paragraph 5. of the CANCELLATION Common Policy
Condition is replaced by the fotlowing:

5. If this policy is cancelled, we will send the first
Named insured any premium refund due.

The refund will be pro rata if:
a. We cancel; or

b. The policy is cancelled at the request of a
premium finance company that has fi-
nanced this policy under a premium finance
agreement.

The refund may be less than pro rata if the first
Named Insured cancels the policy.

The cancellation will be effective even if we
have not made or offered a refund.

B. The following is added to the CANCELLATION
Common Policy Condition:

CANCELLATION FOR POLICIES IN EFFECT
FOR 60 DAYS OR MORE

If this policy has been in effect for 60 days or
more, or if this policy is a renewal of a policy we
issued, we may cancel this policy only for one or
more of the following reasons:

1. Nonpayment of premium, Including any addi-
tional premium, calculated in accordance with
our current rating manual, justified by a physi-
cal change in the insured property or a change
in its occupancy or use;

2. Your conviction of a crime increasing any
hazard insured against;

3. Discovery of fraud or material misrepresenta-
tion on the part of either of the following:

a. You or your representative in obtaining this
insurance; or

b. You in pursuing a claim under this policy;

4, Failure to comply with written loss control
recommendations;

5. Material change in the risk which increases the
risk of loss after we issued or renewed insur-
ance coverage;

6. Determination by the insurance commissioner
that the continuation of the policy would jeop-
ardize our solvency or would place us in viola-
tion of the insurance laws of Tennessee or any
other state;

7. Your violation or breach of any policy terms or
conditions; or

8. Other reasons that are approved by the insur-
ance commissioner.

_Notice of cancellation will state the reason for

cancellation.

C, The following is added and supersedes any provi-

sions to the contrary:
NONRENEWAL

1. If we decide not to renew this policy, we will
mail or deliver written notice cof nonrenewal to
the first Named Insured and agent, at least 60
days before the expiration date unless:

a. We have offered to issue a renewal policy;
or

b. You have obtained replacement coverage
or have agreed in writing to obtain re-
placement coverage.

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2. Any notice of nonrenewal will be mailed or
delivered to the first Named Insured's and
agent's addresses shown in the policy. If notice
is mailed, proof of mailing will be sufficient
proof of notice.

D. The following is added to the PREMIUMS Com-
mon Policy Condition:

Whenever an insurance policy which is financed
with a premium finance company is cancelled, the
insurer shall return, within 30 days after the effec-
tive date of the cancellation, whatever gross un-
earned premiums are due under the insurance
policy directly to the premium finance company
for the account of the first Named Insured.

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POLICY NUMBER:FCI 005 3063

IL 09 53 01 08

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
EXCLUSION OF CERTIFIED ACTS OF TERRORISM

This endorsement modifies insurance provided under the following:

BOILER AND MACHINERY COVERAGE PART

COMMERCIAL INLAND MARINE COVERAGE PART

COMMERGIAL PROPERTY COVERAGE PART
CRIME AND FIDELITY COVERAGE PART
EQUIPMENT BREAKDOWN COVERAGE PART
FARM COVERAGE PART

STANDARD PROPERTY POLICY

SCHEDULE

The Exception Covering Certain Fire Losses (Paragraph C) applies to property located in the following state(s),
if covered under the indicated Coverage Form, Coverage Part or Policy:

State(s)

Coverage Form, Coverage Part Or Policy

CA, GA, HI, IA, IL, MA, ME,MO, NC, NJ, NY, OR, RI,
US VI, WA, Wi, and WV

Commercial Property Coverage Part

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. The following definition is added with respect to
the provisions of this endorsement:

"Certified act of terrorism" means an act that is
certified by the Secretary of the Treasury, in
concurrence with the Secretary of State and the
Attomey General of the United States, to be an act
of terrorism pursuant to the federal Terrorism Risk
Insurance Act. The criteria contained in the
Terrorism Risk Insurance Act for a “certified act of
terrorism" include the following:

1. The act resulted in insured iosses in excess of
$5 million in the aggregate, altributable to all
types of insurance subject to the Terrorism
Risk Insurance Act; and

2. The act is a violent act or an act that is
dangerous to human life, property or
infrastructure and is committed by an individual
or individuals as part of an effort to coerce the
civilian population of the United States or to
influence the policy or affect the conduct of the
United States Government by coercion.

B. The following exclusion is added:

CERTIFIED ACT OF TERRORISM EXCLUSION

We will not pay for loss or damage caused directly
or indirectly by a "certified act of terrorism". Such
loss or damage is excluded regardless of any
other cause or event that contributes concurrently
or in any sequence to the loss.

. Exception Covering Certain Fire Losses

The following exception to the exclusion in
Paragraph B. applies only if indicated and as
indicated in the Schedule of this endorsement.

If a "certified act of terrorism" results in fire, we will
pay for the loss or damage caused by that fire.
Such coverage for fire applies only to direct loss or
damage by fire to Covered Property. Therefore, for
example, the coverage does not apply to
insurance provided under Business income and/or
Extra Expense coverage forms or endorsements
which apply to those farms, or to the Legal Liability
Coverage Form or the Leasehold Interest
Coverage Form.

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If aggregate insured losses attributable to terrorist
acts certified under the Terrorism Risk Insurance
Act exceed $100 billion in a Program Year
(January 1 through December 31) and we have
met our insurer deductible under the Terrorism
Risk Insurance Act, we shall not be liable for the
payment of any portion of the amount of such
losses that exceeds $100 billion, and in such case
insured losses up to that amount are subject to pro
rata allocation in accordance with procedures
established by the Secretary of the Treasury.

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D. Application Of Other Exclusions

The terms and limitations of any terrorism
exclusion, or the inapplicability or omission of a
terrorism exclusion, do not serve to create
coverage for any loss which would otherwise be
excluded under this Coverage Part or Policy, such
as losses excluded by the Nuclear Hazard
Exclusion or the War And Military Action
Exclusion.

IL 09 53 01 08

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POLICY NUMBER: FCI 005 3063 COMMERCIAL PROPERTY
CP 03 20 10 92

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

MULTIPLE DEDUCTIBLE FORM

(FIXED DOLLAR DEDUCTIBLES)

This endorsement modifies insurance provided under the following:

BUILDING AND PERSONAL PROPERTY COVERAGE FORM
BUILDERS’ RISK COVERAGE FORM

CONDOMINIUM ASSOCIATION COVERAGE FORM
CONDOMINIUM COMMERCIAL UNIT-OWNERS COVERAGE FORM
STANDARD PROPERTY POLICY

TOBACCO SALES WAREHOUSES COVERAGE FORM

SCHEDULE *

The Deductibles applicable to any one occurrence are shown below:

Prem. Bldg. Deductible Covered Causes
of Loss **
1-4 1 $10,000 3
1-4 1 $50,000 Theft with respect to vacant units

* Information required to complete this Schedule, if not shown on this endorsement, will be shown in the
Declarations.

** For each deductible listed in this Schedule, enter the number corresponding to the Covered Cause(s) of Loss
to which that deductible applies (or enter the description):

(1) All Covered Causes of Loss
{2) All Covered Causes of Loss except Windstorm or Hail
(3) All Covered Causes of Loss except Theft
(4) All Covered Causes of Loss except Windstorm or Hail and Theft
(5) Windstorm or Hail
{6) Theft
The following is added to the DEDUCTIBLE section:

A. In the event that loss or damage occurs to Covered Property at more than one building location as a result of
one occurrence, the largest applicable deductible for that Covered Cause of Loss, shown in the Schedule
above or in the Declarations, will apply.

B. The terms of this endorsement do not apply to any Earthquake Deductible or to any Windstorm or Hail
Percentage Deductible provided elsewhere in this policy.

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COMMERCIAL PROPERTY
CP 04 05 04 02

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

ORDINANCE OR LAW COVERAGE

This endorsement modifies insurance provided under the following:

BUILDING AND PERSONAL PROPERTY COVERAGE FORM
CONDOMINIUM ASSOCIATION COVERAGE FORM

STANDARD PROPERTY POLICY

SCHEDULE*
Cov. B Cov. C Cov. B And C
Bidg. No./ Limit Limit Combined Limit
Prem. No. Cov. A Of Insur. Of Insur. Of Insur.
4 11-4 ® a S $250,000 **
/ oO iS $ i 4K
{ oO S p $ “
Information required to complete the Schedule, if not shown on this endorsement, will be shown in the
Declarations.
**“Do not enter a Combined Limit of insurance if individual Limits of Insurance are selected for Coverages B and
iC, or if one of these Coverages is not applicable.

A. Each Coverage — Coverage A, Coverage B and

Coverage C — is provided under this endorsement
only if that Coverage(s) is chosen by entry in the
above Schedule and then only with respect to the
building identified for that Coverage(s) in the
Schedule.

B. Application Of Coverage(s)}

CP 04 05 04 02

The CGoverage(s) provided by this endorsement
apply only if both B.4. and B.2. are satisfied and
are then subject to the qualifications set forth in
B.3.

1. The ordinance or law:

a. Regulates the demolition, construction or
repair of buildings, or establishes zoning or
land use requirements at the described
premises; and

b. [sin force at the time of loss.

But coverage under this endorsement applies only
in response to the minimum requirements of the
ordinance or law. Losses and costs incurred in
complying with recommended actions or
standards that exceed actual requirements are not
covered under this endorsement.

2.a. The building

3.

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sustains direct physical
damage that is covered under this policy
and such damage results in enforcement of
the ordinance or law; or

b. The building sustains both direct physical
damage that is covered under this policy
and direct physical damage that is not
covered under this policy, and the building
damage in its entirety results in
enforcement of the ordinance or law.

c. But if the building sustains direct physical
damage that is not covered under this
policy, and such damage is the subject of
the ordinance or law, then there is no
coverage under this endorsement even if
the building has also sustained covered
direct physical damage.

In the situation described in B.2.b. above, we
will not pay the full amount of loss otherwise
payable under the terms of Coverages A, B,
and/or C of this endorsement. Instead, we will
pay a proportion of such loss; meaning the
proportion that the covered direct physical
damage bears to the fotal direct physical
damage.

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{Section H. of this endorsement provides an 3. Coverage C — Increased Cost Of

example of this procedure.)

However, if the covered direct physical
damage, alone, would have resulted in
enforcement of the ordinance or jaw, then we
will pay the full amount of loss otherwise
payable under the terms of Coverages A, B
and/or € of this endorsement.

Cc, We will not pay under Coverage A, B or C of this
endorsement for:

1.

2.

Enforcement of any ordinance or law which
requires the demolition, repair, replacement,
reconstruction, remodeling or remediation of
property due to contamination by "pollutants" or
due to the presence, growth, proliferation,
spread or any activity of "fungus", wet or dry rot
or bacteria; or

The costs associated with the enforcement of
any ordinance or law which requires any
insured or others to test for, monitor, clean up,
remove, contain, treat, detoxify or neutralize, or
in any way respond to, or assess the effects of
"pollutants", "fungus", wet or dry rot or bacteria.

D. Coverage

Construction Coverage

a. With respect to the building that has
sustained covered direct physical damage,
we will pay the increased cost to:

(1) Repair or reconstruct damaged portions
of that building; and/or

(2) Reconstruct or remodel undamaged
portions of that building, whether or not
demolition is required;

when the increased cost is a consequence
of enforcement oof the minimum
requirements of the ordinance or law.

However:

{i) This coverage applies only if the
restored or remodeled property is
intended for similar occupancy as the
current property, unless such occupancy
is not permitted by zoning or land use
ordinance or law.

(2) We will not pay for the increased cost of
construction if the building is not
repaired, reconstructed or remodeled.

The Coinsurance Additional Condition does

1, Coverage A — Coverage For Loss To The )
Undamaged Portion Of The Building ret apply to Increased Cost of Construction
With respect to the building that has sustained overage. oo
covered direct physical damage, we will pay b. When a building is damaged or destroyed
under Coverage A for the loss in value of the and Coverage © applies to that building in
undamaged portion of the building as a accordance with 3.a. above, coverage for
consequence of enforcement of an ordinance the increased cost of construction also
or law that requires demolition of undamaged applies to repair or reconstruction of the
parts of the same building. following, subject to the same conditions
Coverage A is included within the Limit of stated In 3.a.: .
Insurance shown in the Declarations as (1) The cost of excavations, grading,
applicable to the covered building. Coverage A backfilling and filling;

. does not increase the Limit of Insurance. (2) Foundation of the building;

2. Coverage B — Demolition Cost Coverage (3) Pilings; and

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With respect to the building that has sustained
covered direct physical damage, we will pay
the cost to demolish and clear the site of
undamaged paris of the same building, as a
consequence of enforcement of an ordinance
or law that requires demolition of such
undamaged property.

The Coinsurance Additional Condition does not
apply to Demolition Cost Coverage.

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(4) Underground pipes, flues and drains.

The items listed in b.(1} through b.(4)
above are deleted from Property Not
Covered, but only with respect to the
coverage described in this Provision, 3.b.

E. Loss Payment
1. All following loss payment Provisions, E.2.

through E.5., are subject to the apportionment
procedures set forth in Section B.3. of this
endorsement.

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2. When there is a loss in value of an undamaged
pertion of a building to which Coverage A
applies, the loss payment for that building,
including damaged and undamaged portions,
will be determined as follows:

a. If the Replacement Cost Coverage Option
applies and the property is being repaired
or replaced, on the same or another
premises, we wili not pay more than the
lesser of:

(1) The amount you would actually spend to
repair, rebuild or reconstruct the
building, but not for more than the
amount it would cost to restore the
building on the same premises and to
the same height, ficor area, style and
comparable quality of the original
property insured; or

(2) The Limit of Insurance shown in the

Declarations as applicable to the
covered building.

b. If the Replacement Cost Coverage Option
applies and the property is not repaired or
replaced, or if the Replacement Cosi
Coverage Option does not apply, we will
not pay more than the lesser of:

(1) The actual cash value of the building at
the time of loss; or -

(2) The Limit of Insurance shown in the
Declarations as applicable to the
covered building.

3. Unless Paragraph E.5. applies, loss payment
under Coverage B — Demolition Cost Coverage
will be determined as follows:

We will not pay more than the lesser of the
following:

a. The amount you actually spend to demolish
and clear the site of the described
premises; or

b. The applicable Limit of Insurance shown for
Coverage B in the Schedule above.

. Unless Paragraph E.5. applies, loss payment
under Coverage C — Increased Cost of
Construction Coverage will be determined as
follows:

a. We will not pay under Coverage C:

(1} Until the property is actually repaired or
replaced, at the same or another
premises; and

(2) Unless the repairs or replacement are
made as soon as reasonably possibile
after the loss or damage, not to exceed
two years. We may extend this period in
writing during the two years.

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b. If the building is repaired or replaced at the
same premises, or if you elect to rebuild at
another prernises, the most we will pay
under Coverage C is the lesser of:

{1} The increased cost of construction at the
same premises; or

(2) The applicable Limit of Insurance shown
for Coverage C in the Schedule above.

c. If the ordinance or law requires relocation to
another premises, the most we will pay
under Coverage C is the lesser of:

(1) The increased cost of construction at the
new premises; or

(2) The applicable Limit of Insurance shown
for Coverage C in the Schedule above.

lf a Combined Limit of Insurance is shown for
Coverages B and C in the Schedule above,
Paragraphs E.3. and E.4. of this endorsement
do not apply with respect to the building that is
subject to the Combined Limit, and the
following loss payment provisions apply
instead:

The most we will pay, for the total of all
covered losses for Demolition Cost and
Increased Cost of Construction, is ithe
Combined Limit of Insurance shown for
Coverages B and C in the Schedule above.
Subject to this Combined Limit of Insurance,
the following loss payment provisions apply:

a. For Demolition Cost, we will not pay more
than the amount you actually spend to
demolish and clear the site of the described
premises.

b. With respect to the Increased Cost of
Construction:

(1) We will not pay for the increased cost of
construction:

(a) Until the property is actually repaired
or replaced, at the same or another
premises; and

(b) Unless the repairs or replacement
are made as soon as reasonably
possible after the loss or damage,
not to exceed two years. We may
extend this period in writing during
the two years.

(2) ff the building is repaired or replaced at
the same premises, or if you elect to
rebuild at another premises, the most
we will pay for the increased cost of
construction is the increased cost of
construction at the same premises,

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(3) If the ordinance or law requires
relocation to another premises, the most
we will pay for the increased cost of
construction is the increased cost of
construction at the new premises.

The terms of this endorsement apply separately to
each building to which this endorsement applies.

G. Under this endorsement we will not pay for loss
due to any ordinance or law that:

1. You were required to comply with before the
loss, even if the building was undamaged; and
2. You failed to comply with.

H. Example of Proportionate Loss Payment for
Ordinance Or Law Coverage Losses (procedure
as set forth in Section B.3. of this endorsement.)
Assume:

@ Wind is a Covered Cause of Loss; Flood fs an
excluded Cause of Loss

@® The building has a value of $200,000

@ Total direct physical damage to buiiding:
$100,000

®@ The ordinance or law in this jurisdiction is
enforced when building damage equals or
exceeds 50% of the building's value

@ Portion of direct physical damage that is
covered (caused by wind): $30,000

@ Portion of direct physical damage that is not
covered (caused by flood): $70,000

@ Loss under Ordinance Or Law Coverage C of
this endorsement: $60,000

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Step 1:
Determine the proportion that the covered
direct physical damage bears to the total direct
physical damage.
$30,000 + $100,000 = .30
Step 2:

Apply that proportion to the Ordinance or Law
loss.

$60,000 x .30 = $18,000

In this example, the most we will pay under this
endorsement for the Coverage € loss is $18,000,
subject to the applicable Limit of Insurance and
any other applicable provisions.

Note: The same procedure applies to losses
under Coverages A and B of this endorsement.

The following definition is added:

"Fungus" means any type or form of fungus,
including moid or mildew, and any mycotoxins,
spores, scents or by-products produced or
released by fungi.

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NOTICE TO POLICYHOLDERS

U.S TREASURY DEPARTMENT'S OFFICE OF FOREIGN ASSETS CONTROL
(“OFAC”)

No coverage is provided by this Policyholder Notice nor can it be construed to replace any
provisions of your policy. You should read your policy and review your Declarations page for

complete information on the coverages y ou are provided.

This Policyhoider Notice provides information concerning possible impact on your insurance
coverage due to directives issued by OFAC. Please read this Policyholder Notice carefully.

OFAC administers and enforces sanctions policy, based on Presidential declarations of “national

emergency". OFAC has identified and listed numerous

e §6Foreign agents

e Front organizations

e Terrorists

e Terrorist organizations

e Narcotics traffickers

as "Specially Designated Nationals and Blocked Persons". This list can be found on the United

Siates Treasury's web site - http/Avww.treas.gov/ofac.

in accordance with OFAC regulations, if it is determined that you or any other insured, or any
person or entity claiming the benefits of this insurance has violated U.S. sanctions law or is a
Specially Designated National and B locked Person, as identified by OFAC, this insurance will be
considered a blocked or frozen contract and all provisions of this insurance will be immediately
subject to OFAC. When an insurance polic y is considered to be such a blocked or frozen contract,
neither payments nor premium refunds may be made without authorization from OFAC. Other

limitations on the premiums and payments also apply.

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SERVICE OF PROCESS

The Commissioner of Insurance of the State of TN is hereby designated the true and lawful attorney of
the Company upon whom may be served all lawful process in any action, suit or proceeding arising out of
this policy. The Company further designates:

Kenneth Meagher
General Counsel

Seaview House

70 Seaview Avenue
Stamford, CT 06902-6040

as its agent in TN te whom such process shall be forwarded by the Commissioner of Insurance.
For Illincis exposures, the Insurer further designates the Director of the Hlinois Division of Insurance and
his successors in office, as its true and lawful attorney upon whom may be served any lawful process in

any action, suit or proceeding instituted by or an behaif of the insured or any beneficiary hereunder arising
out of an IHinois exposure and this contract of insurance.

All other terms and conditions of this policy remain unchanged.

Pigplinnacs Ct bare,

(Authorized Representative)

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WK 64 64 10 07

Named Insured: VWinbranch II, LLC

Policy Effective Date: 5/1/2009
Policy Expiration Date: 5/1/2010

This endorsement effective 5/1/2009 forms a part of Policy No. FCI 005 3063 issued on behalf of
Indian Harbor Insurance Company.

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

MINIMUM EARNED PREMIUM

In the event of cancellation of this policy by the Insured, a minimum of 25 % of the total policy premium shall
become earned. Any condition(s) of the policy notwithstanding.

Failure of the Insured to make timely payment of premium shall be considered a request by the Insured for the
Company to cancel. [n the event of such cancellation by the Company for Non-Payment of Premium, Minimum
Premium shall be due and payable.

In the event of any other cancellation by the Company, the eamed premium shall be computed pro rata not
subject to minimum premium.

All other terms and conditions of this policy remain unchanged.

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COMMERCIAL PROPERTY
WK 53 67 04 08

Named Insured: Winbranch fl, LLC

Policy Effective Date: 5/1/2009
Policy Expiration Date: 5/1/2010

This endorsement effective 5/1/2009 forms a part of Policy No. FCI 005 3063 issued on

behalf of Indian Harbor Insurance Company.

FLOOD AND EARTHQUAKE ENDORSEMENT

Itis understood and agreed this policy covers against Flood and Earthquake as follows:

A)

B)

C)

E)

F)

Each loss by Earthquake cr Flood shall constitute a single loss hereunder:

if more than one Earthquake shock occurs within any period of 72 hours during the terms of this
policy,

Or if any Flood occurs within a period of 72 hours during which there is a continued rising or overflow
of any river(s) or strearns(s) and the subsidence of same within the banks of such river(s) or
stream(s),

Or if any Flood results from any tidal wave or series of tidal waves caused by any one disturbance.
Such Earthquake shocks or flood shall be deemed to be a single occurrence within the meaning of
this policy.

The definition of:

Earthquake shall not be deemed fo include subsidence, landslide or mudflow, sinking, rising or
shifting. .

Flood shail not be deemed to include backing up of sewers or drains or seepage precipitated by an
Earthquake or Flood.

Underwriters shall net be liable, however for any loss caused by an Earthquake shock, volcanic
action, or Flood occurring befere the effective date and time or after the expiration date and time of
this policy.

Deductible: NOT COVERED per occurrence for Flood, 5% of the total values at risk at time of loss
per location, subject to a minimum deductible of $250,000 per occurrence for Earthquake.

$1,000,000 Any one loss due to Earthquake not to exceed aggregate any one year.
NOT COVERED Any one loss due to Flood not to exceed aggregate any one year.
FLOOD COVERAGE DOES NOT APPLY TO ANY“LOCATION WHICH IS SITUATED IN FLOOD

ZONES A (INCLUDING ALL ZONES BEGINNING WITH THE LETTER A), V (INCLUDING VE), OR
SHADED X AS DELINEATED BY THE NATIONAL FLOOD INSURANCE PROGRAM.

All other terms and conditions of this policy remain unchanged.

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COMMERCIAL PROPERTY
WK 76 55 10 07

Named Insured: Winbranch il, LLC

Policy Effective Date: 5/1/2009
Policy Expiration Date: 5/1/2010

This endorsement effective 5/1/2009 forms a part of Policy No. FCI 005 3063 issued on
behalf of indian Harbor Insurance Company.

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

POLLUTION AND CONTAMINATION EXCLUSION

This endorsement modifies insurance provided under the following:

COMMERCIAL PROPERTY COVERAGE PART
COMMERICAL INLAND MARINE

This policy does not cover loss or damage to covered property caused directly or indirectly by the release
or discharge or dispersal of toxic or hazardous substances, contaminants or pollutants. Nor does it cover
the cost of removal, disposal, decontamination or replacement of insured property which has been
contaminated by toxic or hazardous substances, contaminants or pollutants and which by law or civil
authority must be restored, disposed of or decontaminated. Such loss to property covered is excluded
regardless of any other cause or event that contributes concurrently or in any sequence fo the loss.

If a loss otherwise covered by this policy occurs and the cost of removal of debris Is increased due to the
presence of toxic or hazardous substances, contaminanis, or pollutants, this policy will only be liable for the
cost of debris removal which would have been incurred had no toxic or hazardous substances,
contaminants or pollutants been present in, on or about the covered property to be removed.

All other terms and conditions of this policy remain unchanged.

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COMMERCIAL PROPERTY
WK 62 28 10 07

Named Insured: VVinbranch fl, LLC

Policy Effective Date: 5/1/2009
Policy Expiration Date: 5/1/2010

This endorsement, effective 5/1/2009, forms a part of Policy No. FCI 005 3063 issued on
behalf of Indian Harbor Insurance Company.

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

OCCURRENCE LIMIT OF LIABILITY

This endorsement modifies insurance provided under the following:

COMMERCIAL PROPERTY COVERAGE PART
COMMERCIAL INLAND MARINE

itis understood and agreed that the following special terms and conditions apply to this policy:

1. The Limit of Liability $2,500,000.00 _, is a limit of amount per occurrence. Notwithstanding anything
to the contrary contained hersin, in no event shall the liability of this Company exceed this limit or
amount in one disaster, casualty, or event, irrespective of the number of locations involved.

2. The premium for this policy is based upon the Statement of Values on file with the Company, or
attached te this policy. In the event of loss hereunder, liability of the Company shall be iimited to the
least of the following:

a) the actual adjusted amount of loss, less applicable deductible(s);

b) the total stated value for the property involved, as shown on the latest Statement
of Values on file with the Company, less applicable deductible(s);

c) the Limit of Liability or amount of Insurance shown on the face of this policy or
endorsed on this policy.

All other terms and conditions of this policy remain unchanged.

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POLICY NUMBER:FCI 005 3063
IL 09 85 01 08

THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF YOUR POLICY IN
RESPONSE TO THE DISCLOSURE REQUIREMENTS OF THE TERRORISM RISK
INSURANCE ACT. THIS ENDORSEMENT DOES NOT GRANT ANY COVERAGE OR
CHANGE THE TERMS AND CONDITIONS OF ANY COVERAGE UNDER THE POLICY.

DISCLOSURE PURSUANT TO TERRORISM RISK
INSURANCE ACT

SCHEDULE

Terrorism Premium (Certified Acts) $ See Declarations

This premium is the total Certified Acts premium attributable to the following Coverage Part(s),
Coverage Form{s} and/or Policy(s):

As Per coverage indicated on Declarations

Additional information, if any, concerning the terrorism premium:

Applicabie to Exclusion of Certified Acts of Terrorism:

Hf the Exclusion of Certified Acts of Terrorism [L 09 53 is attached to this policy, then the premium for
the Exception Covering Certain Fire losses (Paragraph C) is waived regarding the scheduled states.

information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Disclosure Of Premium

In accordance with the federal Terrorism Risk
Insurance Act, we are required to provide you with
a notice disclosing the portion of your premium, if
any, attributable to coverage for terrorist acts

c. Cap On Insurer Participation In Payment Of
Terrorism Losses

lf aggregate insured losses attributable to terrorist
acts certified under the Terrorism Risk Insurance
Act exceed $100 billion in a Program Year

IL 09 85 01 08

certified under the Terrorism Risk Insurance Act.
The portion of your premium attributable to such
coverage fis shown in the Schedule of this
endorsement or in the policy Declarations.

. Disclosure Of Federal Participation In Payment
Of Terrorism Losses

The United States Government, Department of the
Treasury, will pay a share of terrorism losses
insured under the federal program. The federal
share equals 85% of that portion of the amount of
such insured losses that exceeds the applicable
insurer retention. However, if aggregate insured
losses attributable to terrorist acts certified under
the Terrorism Risk Insurance Act exceed $100
billion in a Program Year (January 1 through
December 31), the Treasury shall not make any
payment for any portion of the amount of such
losses that exceeds $100 billion.

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(January 1 through December 31) and we have
met our insurer deductible under the Terrorism
Risk Insurance Act, we shall not be liable for the
payment of any portion of the amount of such
losses that exceeds $100 billion, and in such case
insured losses up to that amount are subject te pro
rata allocation in accordance with procedures
established by the Secretary of the Treasury.

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IN WITNESS ENDORSEMENT

INDIAN HARBOR INSURANCE COMPANY
ADMINISTRATIVE OFFICE: SEAVIEW HOUSE
70 SEAVIEW AVENUE
STAMFORD, CT 06902-6040
STATUTORY HOME OFFICE: CT CORPORATION SYSTEMS

314 EAST THAYER AVENUE
BISMARCK, ND 58501-4018

it is hereby agreed and understood that the following In Witness Clause supercedes any and all other
in Witness clauses in this policy.

All other provisions remain unchanged.

IN WITNESS WHERECF, the Company has caused this policy to be executed and attested, and, if
required by state law, this policy shall not be valid unless countersigned by a duly authorized
representative of the Company.

Dennis P. Kane Toni Ann Perkins
President Secretary

IL MP 9104 1208 IHIC
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COMMERCIAL PROPERTY
WK 27 23 10 07

Named Insured: Winbranch Hl, LLC

Policy Effective Date: 5/41/2009
Policy Expiration Date: 5/1/2010

This endorsement effective 5/1/2009 forms a part of Policy No. FCI 005 3063 issued on
behalf of Indian Harbor Insurance Company.

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

ASBESTOS MATERIAL EXCLUSION

This endorsement modifies insurance provided under the following:

COMMERCIAL PROPERTY COVERAGE PART
Notwithstanding any provision in the policy to which this endorsement is attached, this policy does not
insure against loss or expense resulting from:

1. demclition or increased cost of reconstruction, repair, debris removal or loss of use necessitated
by the enforcement of any law or ordinance involving asbestos material.

2. any governmental direction or request declaring that asbestos material present in or part of or
utilized on any undamaged portion of the insured's property can no longer be used for the
purpose for which it was intended or installed and must be removed or modified.

All other terms and conditions of this policy remain unchanged.

WK 27 23 10 07 Page 1 of 1
Case 2:10-cv-02366-BBD-cgc Document1-1 Filed 05/17/10 Page 64 of 84
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Commercial Property
WK CP 03 41 08

Named Insured: Winbranch II, LLC

Policy Effective Date: 5/1/2009
Policy Expiration Date: 5/1/2010

This endorsement effective 5/1/2009 forms a part of Policy No. FCi 005 3063 issued on behalf
of Indian Harbor Insurance Company.

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

PROTECTIVE SAFEGUARDS — LOCKED AND SECURED
This endorsement modifies insurance provided under the following:
COMMERCIAL PROPERTY COVERAGE PART
SCHEDULE

Premises No. Building No.
1-4 1

1. The following is added to the COMMERCIAL PROPERTY CONDITIONS:

As a condition of this insurance, you are required to securely lock all doors and windows of any
building identified in the Schedule to prevent unlawful entry by any unknown person(s).

2. The following is added to the EXCLUSIONS section ctf:
CAUSES OF LOSS — BASIC FORM
CAUSES OF LOSS —- BROAD FORM
CAUSES OF LOSS - SPECIAL FORM

We will not pay for loss or damage at any building identified in the Schedule caused by or resulting
from any of the following causes of loss, if covered under this policy, unless there is visible evidence
of forcible entry:

a. Fire;

b. Riot or Civil Commotion;
c. Vandalism; or

d. Theit.

WK CP 03 11 08 Page i of 1
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NOTICE TO POLICYHOLDERS

Dear Pclicyholder:

On the declaration page of your insurance policy you will find important information about your insurance
coverage, including the policy premium. XL believes that it is important for policyholders to know that the
insurance premium you pay for this policy includes not only the cost for the insurance provided by XL but it may
also include the compensation we may pay fo the insurance producer who has arranged for the placement of
your Insurance with XL.

We at XL are committed to full transparency concerning the amount of premium allocated to insurance producer
compensation. In the event that you have a question about the amount cf compensation paid to the insurance
producer for your insurance policy, we encourage you to contact your insurance producer.

Thank you for insuring with XL.

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NOTICE TO POLICYHOLDERS

PRIVACY POLICY

The Indian Harbor Insurance Company (ihe “Companies”), believes personal information that we collect about
our customers, potential customers, and proposed insureds (referred to collectively in this Privacy Policy as
“customers”) must be treated with the highest degree of confidentiality. For this reason and in compliance with
ihe Title V of the Gramm-Leach-Bliley Act (“GLBA”’), we have developed a Privacy Policy that applies to all of our
companies. For purposes of our Privacy Policy, the term “personal information” includes all information we obtain
about a customer and maintain in a personally identifiable way. In order to assure the confidentiality of the
personal information we collect and in order to comply with applicable laws, all individuals with access to personal
information about our customers are required to follow this policy.

Our Privacy Promise

Your privacy and the confidentiality of your business records are important to us. Information and the analysis of
information is essential to the business of insurance and critical to our ability to provide to you excellent,
cost-effective service and products. We understand that gaining and keeping your trust depends upon the
security and integrity of our records concerning you. Accordingly, we promise that:

1. We will follow strict standards of security and confidentiality to protect any information you share with us or
information that we receive about you;

2. We will verify and exchange information regarding your credit and financial status only for the purposes of
underwriting, policy administration, or risk management and only with reputable references and clearinghouse
services;

3. We will not collect and use information about you and your business other than the minimum amount of
information necessary to advise you about and deliver to you excellent service and products and to
administer our business;

4, We will train our employees to handle information about you or your business in a secure and confidential
manner and only permit empioyees authorized to use such information to have access to such information;

5. We will not disclose information about you or your business to any organization outside the XL insurance
group of Companies or to third party service > providers unless we disclose to you our intent to do so or we are
required to do so by law:

6. We will not disclose medical information about you, your employees, or any claimants under any policy of
insurance, unless you provide us with written authorization to do so, or unless the disclosure is for any
specific business exception provided in the law;

7. We will attempt, with your help, to keep our records regarding you and your business complete and accurate,
and will advise you how and where to access your account information (unless prohibited by law), and will
advise you how to correct errors or make changes to that information; and

8. We will audit and assess our operations, personnel and third party service providers to assure that your
privacy is respected.

Collection an r f Information

We collect from a customer or potential customer only the personal information that is necessary for (a)

determining eligibility for the product or service sought by the customer, (b) administering the product or service

obtained, and (c) advising the customer about our products and services. The information we collect generally
comes from the following sources:

« Submission — During the submission process, you provide us with information about you and your business,
such as your name, address, phone number, e-mail address, and other types of personal identification
information:

* Quotes — We collect information to enable us to determine your eligibility for the particular insurance product
and to determine the cost of such insurance to you. The information we collect will vary with the type of
insurance you seek;

*« Transactions — We will maintain records of all tansactions with us, our affiliates, and our third party service
providers, including your insurance coverage selections, premiums, billing and payment information, claims
history, and other information related to your account;

e Claims — If you obtain insurance from us, we will maintain records related to any claims that may be made -

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NOTICE TO POLICYHOLDERS

under your policies. The investigation of a claim necessarily involves collection of a broad range of
information about many issues, some of which does not directly involve you. We will share with you any facts
that we collect about your claim unless we are prohibited by law from doing so. The process of claim
investigation, evaluation, and settlement also involves, however, the collection of advice, opinions, and
comments from many people, including attorneys and experts, to aid the ciaim specialist in determining how
best to handle your claim. In order to protect the legal and transactional confidentiality and privileges
associated with such opinions, comments and advice, we will not disclose this information to you; and

e Credit and Financial Reports ~ We may receive information about you and your business regarding your
credit. We use this information to verify information you provide during the submission and quote processes
and to help underwrite and provide to you the most accurate and cost-effective insurance quote we can
provide.

Retention and Correction of Personal Information

We retain personal information only as long as required by our business practices and applicable law. If we
become aware that an item of personal information may be materially inaccurate, we will make reasonable effort
to re-verify its accuracy and correct any error as appropriate.

Storage of Personal Information
We have in place safeguards to protect data and paper files containing personal information.

Sharing/Disclosing of Personal information

We maintain procedures to assure that we do not share personal information with an unaffiliated third party for
marketing purposes unless such sharing is permitted by law. Personal information may be disclosed to an
unaffiliated third party for necessary servicing of the product or service or for other normal business transactions
as permitted by law.

We do not disclose personal information to an unaffiliated third party for servicing purposes or joint marketing
purposes unless a contract containing a confidentiality/non-disclosure provision has been signed by us and the
third party. Unless a consumer consents, we do not disclose “consumer credit report’ type information obtained
from an application or a credit report regarding a customer who applies for a financial product to any unaffiliated
third party for the purpose of serving as a factor in establishing a consumer's eligibility for credit, insurance or
employment. “Consumer credit report type information” means such things as net worth, credit worthiness,
lifestyle information (piloting, skydiving, etc.) solvency, etc. We also do not disclose to any unaffiliated third party
a policy or account number for use in marketing. We may share with our affillated companies information that
relates to our experience and transactions with the customer.

Policy for Personal Information Relating to Nonpublic Personal Health Information

We do not disclose nonpublic personal health information about a customer unless an authorization is obtained
from the customer whose nonpublic personal information is sought to be disclosed. However, an authorization
shall not be prohibited, restricted or required for the disclosure of certain insurance functions, including, but not
limited to, claims administration, claims adjustment and management, detection, investigation or reporting of
actual or potential fraud, misrepresentation or criminal activity, underwriting, policy placement or issuance, loss
control and/or auditing.

Access to Your Information

Our employees, employees of our affiliated companies, and third party service providers will have access to
information we collect about you and your business as is necessary to effect transactions with you. We may also
disclose information about you to the following categories of person or entities:

« Your independent insurance agent or broker;
« Anindependent claim adjuster or investigator, or an attorney or expert involved in the claim;

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NOTICE TO POLICYHOLDERS

Persons or organizations that conduct scientific studies, including actuaries and accountants;

An insurance support organization;

Another insurer if to prevent fraud or to properly underwrite a risk;

A state insurance department or other governmental agency, if required by federal, state or local laws; or

Any persons entitled to receive information as ordered by a summons, court order, search warrant, or

subpoena.

Violation of the Privacy Policy

Any person violating the Privacy Policy will be subject to discipline, up to and including termination.

For more information or fo address questions regarding this privacy statement, please contact your broker.

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NOTICE TO POLICYHOLDERS

Arkansas

Colorado

District of
Columbia

Florida

Hawaii

Kentucky

Louisiana

Maine

PN CW O01 0505

FRAUD NOTICE

Any person who knowingly presents a false or fraudulent claim for payment of a loss or
benefit or knowingly presents false information in an application for insurance is
guilty of a crime and may be subject to fines and confinement in prison.

It is unlawful to knowingly provide false, incomplete, or misleading facts or information to
an insurance company for the purpose of defrauding or attempting to defraud the
company. Penalties may include imprisonment, fines, denial of insurance and civil
damages. Any insurance company or agent of an insurance company who knowingly
provides false, incomplete, or misleading facts or information to a policyholder or claimant
for the purpose of defrauding or attempting to defraud the policyholder or claiming with
regard to a settlement or award payable for insurance proceeds shail be reported to the
Colorado Division of Insurance within the Department of Regulatory Agencies.

WARNING: It is a crime to provide false or misleading information to an insurer for the
purpose of defrauding the insurer or any other person. Penalties include imprisonment
and/or fines. In addition, an insurer may deny insurance benefits if false information
materially related to a claim was provided by the applicant.

Any person who knowingly and with intent to injure, defraud, or deceive any insurance
company files a statement of claim containing any false, incomplete, or misleading
information is guilty of a felony of the third degree.

Workers Compensation: An injured employee or other party shall provide his signature
in acknowledgement of the following statement: “Any person who, knowingly and with
intent to injure, defraud, or deceive any employer or employee, insurance company, or
self-insured program, files a statement of claim containing any false or misleading
information is guilty of a felony of the third degree.” If the injured party refuses to sign the
document attesting that he/she has reviewed, understands, and acknowledges the
statement, benefits, or payments under this chapter shall be suspended until such
signature is obtained.

“For your protection, Hawaii law requires you to be informed that presenting a fraudulent
claim for payment of a loss or benefit is a crime punishable by fines or imprisonment, or
both.

Any person who knowingly and with intent to defraud any insurance

company or other person files an application for insurance containing any materially false
information cr conceals, for the purpose of misleading, information concerning any fact
material thereto commits a fraudulent insurance act, which is a crime.

Any person who knowingly presents a false or fraudulent claim for payment of a loss or
benefit or knowingly presents false information in an application for insurance is guilty of a
crime and may be subject to fines and confinement in prison.

It is a crime te knowingly provide false, incomplete or misleading information to an
insurance company for the purpose of defrauding the company. Penalties may include
imprisonment, fines, or denial of insurance benefits.

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NOTICE TO POLICYHOLDERS

New Jersey

New Mexico

New York

Ohio

Oklahoma

Pennsylvania

PN CW 01 0505

Any person who includes any false or misleading information on an application for an
insurance policy is subject to criminal and civil
penalties.

Any person who knowingly presents a false or fraudulent claim for payment of a loss or
benefit or knowingly presents false information in an application for insurance is guilty of a
crime and may be subject to civil fines and criminal penalties.

All commercial insurance forms, except as provided for automobile insurance:
"Any person who knowingly and with intent to defraud any insurance company or other
person files an application for insurance or statement of claim containing any materially
false information, or conceals for the purpose of misleading, information concerning any
fact material thereto, commits a fraudulent insurance act, which is a crime, and shall also
be

subject to a civil penalty not to exceed five thousand dollars and the stated value of the
claim for each such violation.”

Automobile insurance forms

“Any person who knowingly makes or knowingly assists, abets, solicits or conspires with
another to make a false report of the theft, destruction, damage or conversion of any
motor vehicle to a law enforcement agency, the department of motor vehicles or an
insurance company, commits

a fraudulent insurance act, which is a crime, and shall also be subject to a civil penalty nat
to exceed five thousand dollars and the value of the subject motor vehicle or stated claim
for each violation.

Fire Insurance: “Any person who knowingly and with intent to defraud any insurance
company or other person files an application for insurance containing any false
information, or conceals for the purpose of misleading, information concerning any fact
material thereto, commits a fraudulent insurance act, which is a crime. The proposed
insured affirms that the foregoing information is true and agrees that these applications
shall constitute a part of any policy issued whether attached or not and that any willful
conceaiment or misrepresentation of a material fact or circumstances shall be grounds to
rescind the insurance policy.”

Any person who, with intent to defraud or knowing that he is facilitating a fraud against an
insurer, submits an application or files a claim containing a false or deceptive statement is
guilty of insurance fraud.

WARNING: Any person who knowingly, and with intent to injure, defraud or deceive any
insurer, makes any claim for the proceeds of an insurance policy containing any false,
incomplete or misleading information is guilty of a felony.

Any person who knowingly and with intent to defraud any insurance company or other
person files an application for insurance or statement of claim containing any materially
false information or conceals for the purpose of misleading, information concerning any
fact material thereto commits a fraudulent insurance act, which is a crime and subjects
such person to criminal and civil penalties.

Auto: Any person who knowingly and with intent to injure or defraud any insurer files an
application or claim containing any false, incomplete or misleading information shall, upon
conviction, be subject to imprisonment for up to seven years and the payment of a fine of
up to $15,000. -

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NOTICE TO POLICYHOLDERS

Rhode Island Property Insurance, Real Or Personal:
The insurance application form shall indicate the existence of a criminal penalty for failure
to disclose a conviction of arson

Tennessee It is a crime to knowingly provide false, incomplete or misleading information to an
insurance company for the purpose of defrauding the company. Penalties include
imprisonment, fines and denial of insurance benefits.

Workers Compensation: Itis a crime to knowingly provide false, incomplete or
misleading information to any party to a workers compensation transaction for the
purpose of committing fraud. Penalties include imprisonment, fines and denial of
insurance benefits.

Virginia Itis a crime to knowingly provide false, incomplete or misleading information te an

insurance company for the purpose of defrauding the company. Penalties include
imprisonment, fines and denial of insurance benefits.

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NOTICE TO POLICYHOLDERS

TENNESSEE

FOR INFORMATION, OR
TO MAKE A COMPLAINT, CALL:
1-800-688-1840
XL INSURANCE
SEAVIEW HOUSE
70 SEAVIEW AVENUE
STAMFORD, CT 06902-6040

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ENDORSEMENT NO. 1

Named Insured: Winbranch li, LLC

05/01/2009
05/01/2010 -

Policy Effective Date:
Policy Expiration Date:

This endorsement effective: 12:01 A.M.

Policy No: FC! 005 3063

06/04/2009 forms a part of

indian Harbor Insurance Company

Amendatory Endorsement

In consideration of the premium shown below, it is hereby understood and agreed this endorsement is
attached to and forms part of the above policy and is effective as shown above. This endorsement
amends only the changes which are indicated by check in the box immediately preceding such change:

4. ([]Policy is
[V]itern(s) listed below are deleted fram the policy schedule.

2

3. {"}Name of Insured is amended as shown below.

4. (_J]insured mailing address is amended as shown below.
5

[_]Policy term is amended to:

eee DOPE ESOC RR POSURE SOE PETER EERE COREE ESS EON M OTERO

Delete Location #1:
3595 Millbranch Road
Memphis, TN 38116

{_]Endersement No is null and void

6
7. {_)Description of item(s} is amended as shown below.
8 Limit of Liability is as shown below.

9

Policy Reinstated
10. []Other, as shown below

Business Income including Rental Value: $1,770,809

Personal Property: $10,000
Real Property: $18,511,800

‘New TIV: $33,196,208

Occurrence Limit remains: $2,500,000

Breakdown:
$ (51,248.00) Premium
$ 0.00 Terrorism Premium .

$ (51,248.00) Grand Total

Issue Date: 07/02/2009

Authorized Representative
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ENDORSEMENT NO. 2
Named Insured: Alterra Capital Group LLC - Memphis

Policy Effective Date: 05/01/2009
Policy Expiration Date: 05/01/2010

This endorsement effective: 12:01 A.M. 08/06/2009 forms a part of
Policy No: FC! 005 3063 Indian Harbor Insurance Company

Amendatory Endorsement

In consideration of the premium shown below, it is hereby understood and agreed this endorsement is
attached to and forms part of the above policy and is effective as shown above. This endorsement
amends only the changes which are indicated by check in the box immediately preceding such change:

1. []Policy is . ({JEndorsement No is null and vaid

6
i ]Hem(s} listed below are the policy schedule. 7. (]Description of item(s) is amended as shown below.
(“}Name of Insured is amended as shown below. 8. [_]Limit of Liability is as shown below.
9

2

3

4. [¥]Insured mailing address is amended as shown below. [ ]Policy Reinstated
5

{_]Policy term is amended to: 10. [_]Other, as shown below

CMEC ECCS SCOR PCC C RPO ee CUE ECO E ESRC SCOR REPT P US PEPE EER REO Oe

Amend Named Insured:
Alterra Capital Group LLC - Memphis

Amend Mailing Address:
20201 N E 16th Place
Miami, FL 33179

Breakdown:

$ 0.60 Premium

$ 0.00 Terrorism Premium
$ 0.06 Grand Total

Issue Date: 08/07/2009 Authorized Representative

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ENDORSEMENT NO. 3
Named Insured: Alterra Capital Group LLC - Memphis

Policy Effective Date: 05/07/2009
Policy Expiration Date: 05/07/2010 .

This endorsement effective: 12:01 A.M. 10/09/2009 forms a part of
Policy No: FCI! 005 3063 Indian Harbor Insurance Company

Amendatory Endorsement

In consideration of the premium shown below, it is hereby understood and agreed this endorsement is
attached to and forms part of the above policy and is effective as shown above. This endorsement
amends only the changes which are indicated by check in the box immediately preceding such change:

1. [[]Policy is 6. (_}Endorsement No is null and void

2. [_]ltem(s) listed below are the policy schedule. 7. '¥]Description of item(s) is amended as shown below.
3. { ]Narme of Insured is amended as shown below. 8. [ ]Limit of Liability is as shown below.

4. []Insured mailing address is amended as shown below. 9. | ]Policy Reinstated

5. { ]Policy term is amended to: 10. { ]Other, as shown below

OCC ee ETCETERA RCC PPS AE OTR OR CR FUR TEER EE OOEE

Amend Location #2:

2861 Kimball

Memphis, TN 38114

Occupancy: Vacant in lieu of Occupied

Deductible: $50,000 in lieu of $10,000

Valuation: ACV in lieu of RC

Cause of Loss: Basic in lieu of Special

Warrant: Locked & Secured, property gated and fenced, 24 hour armed security

Amend Schedule of Forms:
Added Causes of Loss - Basic Form (CP10100402) - See attached

Added Protective Safeguards. (1L04150498) - See attached
Added Vacancy Permit (CP04500788) - See attached

Breakdown:

$ 0.00 Premium

$ 0.00 Terrorism Premium
$ 0.00 Grand Total

Issue Date: 10/09/2009 Authorized Representative

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COMMERCIAL PROPERTY
CP 10 10 04 02

CAUSES OF LOSS — BASIC FORM

A. Covered Causes Of Loss 7. Riot or Civil Commotion, including:

When Basic is shown in the Declarations, Covered
Causes of Loss means the following:

1. Fire.

2. Lightning. _

3, Explosion, including the explosion of gases or
fuel within the furnace of any fired vessel or
within the flues or passages through which the

gases of combustion pass. This cause of loss
does not include loss or damage by:

a. Rupture, bursting or operation of pressure
relief devices; or

b. Rupture or bursting due to expansion or
swelling of the contents of any building or
structure, caused by or resulting from wa-
ter.

4, Windstorm or Hail, but not including:
a. Frost or cold weather;

b. Ice (other than hail}, snow or sleet, whether
driven by wind or not; or

c. Loss or damage to the interior of any build-
ing or structure, or the property inside the
building or structure, caused by rain, snow,
sand or dust, whether driven by wind or not,
unless the building or structure first sus-
tains wind or hail damage to its roof or walls -
through which the rain, snow, sand or dust
enters.

5. Smoke causing sudden and accidental loss or
damage. This cause of loss does not include
smoke from agricultural smudging or industrial
operations.

6. Aircraft or Vehicles, meaning only physical
contact of an aircraft, a spacecraft, a self-
propelled missile, a vehicle or an object thrown
up by a vehicle with the described property or
with the building or structure containing the de-
scribed property. This cause of loss includes
loss or damage by objects falling from aircraft.

We will not pay for loss or damage caused by
or resulting from vehicles you own or which are
operated in the course of your business.

a. Acts of striking employees while occupying
the described premises; and

b. Looting occurring at the time and place of a
riot or civil commotion.

8. Vandalism, meaning willful and malicious dam-

age io, or destruction of, the described prop-
erty.

We will not pay for loss or damage caused by
or resulting from theft, except for building dam-
age caused by the breaking in or exiting of bur-
glars.

Sprinkler Leakage, meaning leakage or dis-
charge of any substance from an Automatic
Sprinkler System, including collapse of a tank
that is part of the system.

if the building or structure containing the Auto-
matic Sprinkler System is Covered Property,
we will also pay the cost to:

a. Repair or replace damaged parts of the
Automatic Sprinkler System if the damage:

(1) Results in sprinkler leakage; cr
(2) Is directly caused by freezing.

b. Tear out and replace any part of the build-
ing or structure fo repair damage to the
Automatic Sprinkler System that has re-
suited in sprinkler leakage.

Automatic Sprinkler System means:

(1) Any automatic fire protective or extin-
guishing system, including connected:

(a) Sprinklers and discharge nozzles;
(b) Ducts, pipes, valves and fittings;

(c) Tanks, their component parts and
supports; and

(a) Pumps and private fire protectio
mains.

{2} When supplied from an automatic fire
protective system:

(a} Non-automatic fire protective sys-
tems: and

(b) Hydrants, standpipes and outlets.

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10. Sinkhole Collapse, meaning loss or damage

11.

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caused by the sudden sinking or collapse of
land into undergraund empty spaces created
by the action of water on limestone or dolomite.
This cause of foss does not include:

a. The cost of filling sinkholes; or

b. Sinking or collapse of land into man-made
underground cavities.

Volcanic Action, meaning direct floss or dam-
age resulting from the eruption of a volcano
when the loss or damage is caused by:

a. Airborne volcanic blast or airborne shock
waves;

b. Ash, dust or particulate matter; or
c. Lava flow.

All volcanic eruptions that occur within any
168-hour period will constitute a single occur-
rence.

This cause of loss does not include the cost to
remove ash, dust or particulate matter that
does not cause direct physical loss or damage
to the described property.

B. Exciusions
1.

We will not pay for loss or damage caused
directly or indirectly by any of the following.
Such loss or damage is excluded regardless of
any other cause or event that contributes con-
currently or in any sequence to the loss.

a. Ordinance Or Law
The enforcement of any ordinance or law:

(1} Regulating the construction, use or
repair of any property; or

(2} Requiring the tearing down of any prop-
erty, including the cost of removing its
debris.

This exclusion, Ordinance Or Law, applies
whether the loss results from:

(1} An ordinance or law that is enforced
even if the property has not been dam-
aged; or

(2} The increased costs incurred to comply
with an ordinance or law in the course of
construction, repair, renovation, remod-
eling or demolition of property, or re-
moval of its debris, following a physical
loss to that property.

b. Earth Movement
(1} Earthquake, including any earth sinking,
rising or shifting related to such event;
(2} Landslide, inciuding any earth sinking,
rising or shifting related to such event;

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(3) Mine subsidence, meaning subsidence
of a man-made mine, whether or not
mining activity has ceased;

{4) Earth sinking (other than sinkhole col-
lapse), rising or shifting including soil
conditions which cause settling, crack-
ing or other disarrangement of founda-
tions or other parts of realty. Soil condi-
tions include contraction, expansion,
freezing, thawing, erosion, improperly
compacted soil and the action of water
under the ground surface,

But if Earth Movement, as described in
b.(1) through (4) above, results in fire or
explosion, we will pay for the loss or dam-
age caused by that fire or explosion.

(5) Volcanic eruption, explosion or effusion.
But if volcanic eruption, explosion or ef-
fusion results in fire or Volcanic Action,
we will pay for the loss or damage
caused by that fire or Volcanic Action.

c. Governmental Action

Seizure or destruction of property by order
of governmental authority.

But we will pay for loss or damage caused
by or resulting from acts of destruction or-
dered by governmental authority and taken
at the time of a fire to prevent its spread, if
the fire would be covered under this Cover-
age Part.

d. Nuclear Hazard

Nuclear reaction or radiation, or radioactive
contamination, however caused.

But if nuclear reaction or radiation, or ra-
dioactive contamination, results in fire, we
will pay for the toss or damage caused by
that fire.

e. Utility Services

The failure of power or other utility service
supplied to the described premises, how-
ever caused, if the failure occurs away from
the described premises. Failure includes
lack of sufficient capacity and reduction in
supply.

But if the failure of power or other utility ser-
vice results in a Covered Cause of Loss,
we will pay for the loss or damage caused
by that Covered Cause of Loss.

This exclusion does not apply to the Busi-
ness Income coverage or to Extra Expense
coverage. Instead, the Special Exclusion in
Paragraph B.3.a.(1} applies to these cover-
ages.

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f. War And Military Action Exclusions B.1.a. through B.1,h. apply whether

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{1} War, including undeclared or civil war;

{2} Warlike action by a military force, includ-
ing action in hindering or defending
against an actual or expected attack, by
any government, sovereign or other au-
thority using military personnel or other
agents; or

(3) Insurrection, rebellion, revolution,
usurped power, or action taken by gov-
ernmental authority in hindering or de-
fending against any of these.

. Water

(1} Flood, surface water, waves, tides, tidal
waves, overflow of any body of water, or
their spray, all whether driven by wind or
not;

{2} Mudslide or mudfiow;

{3} Water that backs up or overflows from a
sewer, drain or sump; or

(4) Water under the ground surface press-
ing on, or flowing or seeping through:

(a) Foundations, walls, floors or paved
surfaces;

(b) Basements, whether paved or not; or
(c}) Doors, windows or other openings.

But if Water, as described in g.{1} through
{4) above, results in fire, explosion or sprin-
kler leakage, we will pay for the loss or
damage caused by that fire, explosion or
sprinkler leakage.

. "Fungus", Wet Rot, Dry Rot And
Bacteria

Presence, growth, proliferation, spread or
any activity of “fungus", wet or dry rot or
bacteria.

But if "fungus"; wet or dry rot or bacteria re-
sults in a Covered Cause of Loss, we will
pay for the loss or damage caused by that
Covered Cause of Loss.

This exclusion does not apply:

1. When "fungus", wet or dry rot or bacte-
tia results from fire or lightning; or

2. To the extent that coverage is provided
in the Additional Coverage — Limited
Coverage For "Fungus", Wet Rot, Dry
Rot And Bacteria with respect to loss or
damage by a cause of loss other than
fire or lightning.

or not the loss event results in widespread
damage or affects a substantial area.

. We will not pay for loss or damage caused by

or resulting from:

a.

Artificially generated electrical current,
inckiding electric arcing, that disturbs elec-
trical devices, appliances or wires.

But if artificially generated electrical current
results in fire, we will pay for the loss or
damage caused by that fire.

Rupture or bursting of water pipes (other
than Automatic Sprinkler Systems) unless
caused by a Covered Cause of Loss.

Leakage or discharge of water or steam
from any part of a system or appliance con-
taining water or steam (other than an Auto-
matic Sprinkler System), unless the leakage
or discharge occurs because the system or
appliance was damaged by a Covered
Cause of Loss. But we will not pay for loss
or damage caused by or resulting from con-
tinuous or repeated seepage or leakage of
water, or the presence or condensation of
humidity, moisture or vapor, that occurs
over a period of 14 days or more.

Explosion of steam boilers, steam pipes,
steam engines or steam turbines owned or
leased by you, or operated under your con-
trol.

But if explosion of steam boilers, steam
pipes, steam engines or steam turbines re-
sults in fire or combustion explosion, we will
pay for the loss or damage caused by that
fire or combustion explosion.

. Mechanical breakdown, including rupture or

busting caused by centrifugal force.

But if mechanical breakdown results in a
Covered Cause of Loss, we will pay for the
loss or damage caused by that Covered
Cause of Loss.

Neglect of an insured to use ail reasonable
means fo save and preserve property from
further damage at and after the fime of loss.

. Special Exclusions

The following provisions apply only to the
specified Coverage Forms.

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a. Business Income (And Extra Expense}
Coverage Form, Business Income
(Without Extra Expense) Coverage

. Form, Or Extra Expense Coverage Form

We will not pay for:
{1) Any loss caused directly or indirectly by

the failure of power or other utility ser-
vice supplied to the described premises,
however caused, if the failure occurs
outside of a covered building. Failure in-
cludes tack of sufficient capacity and re-
duction in supply.

But if the failure of power or other utility
service results in a Covered Cause of
Loss, we will pay for the loss resulting
from that Covered Cause of Loss.

(2}. Any loss caused by or resulting from:

{a) Damage or destruction of "finished
stock"; or

(b) The time required to reproduce “fin-
ished stock”.

This exclusion does not apply to Extra
Expense.

(3) Any loss caused by or resulting from

direct physical loss or damage to radio
or television antennas (including satellite
dishes) and their lead-in wiring, masts or
towers.

(4) Any increase of loss caused by. or re-

sulting from:

(a) Delay in rebuilding, repairing or
repiacing the property or resuming
"operations", due to interference at
the location of the rebuilding, repair
or replacement by strikers or other
persons; or

(b) Suspension, lapse or cancellation of
any ficense, ijease or contract. But if
the suspension, lapse or cancellation
is directly caused by the “suspen-
sion" of "operations", we will cover
such loss that affecis your Business
Income during the "period of restora-
tion" and any extension of the “pe-
riod of restoration" in accordance
with the terms of the Extended Busi-
ness income Additional Coverage
and the Extended Period of Indem-
nity Optional Coverage or any varia-
tion of these.

(5) Any Extra Expense caused by or result-

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ing from suspension, lapse or cancella-
tion of any license, lease or contract be-
yond the "period of restoration".

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(6) Any other consequential loss.
b. Leasehold Interest Coverage Form
(1) Paragraph 8.1.a., Ordinance Or Law;

does not apply to insurance under this
Coverage Form.

{2) We will not pay for any loss caused by:

{a} Your cancelling the lease;

(b) The suspension, lapse or cancella-
tion of any license; or

(c) Any other consequential loss.

c. Legal Liability Coverage Form
(1) The following exclusions do not apply to

insurance under this Coverage Form:

{a} Paragraph B.1.a., Ordinance Or
Law;

(b) Paragraph B.1.c., Governmental
Action:

(c) Paragraph B.1.d., Nuclear Hazard;

(d) Paragraph B.1.e., Utility Services;
and

(e) Paragraph B.1.f., War And Military
Action.

(2) The following additional exclusions

apply to insurance under this Coverage
Form:

{a) Contractual Liability

We will not defend any claim or
"suit", or pay damages that you are
legally liable to pay, solely by reason
of your assumption of liability in a
contract or agreement. But this ex-
clusion does not apply to a written
lease agreement in which you have
assumed liability for building damage
resulting from an actual or attempted
burglary or robbery, provided that:

(i) Your assumption of liability was
executed prior to the accident;
and

(ii) The building is Covered Property
under this Coverage Form,

(b) Nuclear Hazard

We will not defend any claim or
"suit", or pay any damages, loss, ex-
pense or obligation, resulting from
nuciear reaction or radiation, or ra-
dioactive contamination, however
caused.

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C. Additional Coverage — Limited Coverage For

“Fungus”, Wet Rot, Dry Rot And Bacteria

4. The coverage described in C.2. and C.6. only

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if there is covered loss or damage to Covered
Property, not caused by "fungus", wet or dry rot
or bacteria, loss payment will not be limited by
the terms of this Limited Coverage, except to

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applies when the "fungus", wet or dry rot or
bacteria is the result of one or more of the fol-
lowing causes that occurs during the policy pe-
riod and only if all reasonable means were
used to save and preserve the property from
further damage at the time of and ajfter that oc-
currence.

a. A Covered Cause of Loss other than fire or
lightning; or

b. Flood, if the Flood Coverage Endorsement
applies to the affected premises.

. We will pay for loss or damage by “fungus”, ,

wet or dry rot or bacteria. As used in this Lim-
ited Coverage, the term loss or damage
means:

a. Direct physical joss or damage to Covered
Property caused by "fungus", wet or dry rot
or bacteria, including the cost of removal of
the "fungus", wet or dry rot or bacteria;

b. The cost to tear out and replace any part of
the building or other property as needed to
gain access to the "fungus", wet or dry rot
or bacteria; and

c. The cost of testing performed after removal,
repair, replacement or restoration of the
damaged property is completed, provided
there is a reason to believe that “fungus”,
wet or dry rot or bacteria are present.

. The coverage described under C.2. of this
Limited Coverage is limited to $15,000. Re-
gardiess of the number of claims, this limit ts
the most we will pay for the total of all loss or
damage arising out of all occurrences of Cov-
ered Causes of Loss (other than fire or light-
ning) and Flood which take place in a 12-
month period (starting with the beginning of the
present annual policy period). With respect to a
particular occurrence of loss which results in
“fungus”, wet or dry rot or bacteria, we will not
pay more than a total of $15,000 even if the
"fungus", wet or dry rot or bacteria continues to
be present or active, or recurs, in a later policy
period.

. The coverage provided under this Limited
Coverage does not increase the applicable
Limit of Insurance on any Covered Property. If
a particular occurrence results in loss or dam-
age by “fungus", wet or dry rot or bacteria, and
other loss or damage, we will not pay more, for
the total of all loss or damage, than the appli-
cable Limit of Insurance on the affected Cov-
ered Property.

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the extent that "fungus", wet or dry rot or bacte-

ria causes an increase in the toss. Any such -

increase in the loss will be subject to the terms
of this Limited Coverage.

5. The terms of this Limited Coverage do not
increase or reduce the coverage provided un-
der Paragraph b. of Covered Causes Of Loss
9., Sprinkler Leakage.

6. The following, 6.a. or 6.b., applies only if Busi-
ness income and/or Extra Expense coverage
applies to the described premises and only if
the “suspension” of “operations” satisfies all
terms and conditions of the applicable Busi-
ness Income and/or Extra Expense coverage
form.

a, If the loss which resulted in "fungus", wet or
dry rot or bacteria does not in itself necessi-
tate a “suspension” of "operations", but
such “suspension' is necessary due to loss
or damage to property caused by "fungus",
wet or dry rot or bacteria, then our payment
under Business Income and/or Extra Ex-
pense is limited to the amount of loss
and/or expense sustained in a period of not
more than 30 days. The days need not be
consecutive.

b. If a covered "suspension" of "operations".

was caused by loss or damage other than
"fungus", wet or dry rot or bacteria but
remediation of "fungus", wet or dry rot or
bacteria prolongs the "period of restora-
tion", we will pay for loss and/or expense
sustained during the delay (regardless of
when such a delay occurs during the "pe-
riod of restoration"), but such coverage is
limited to 30 days. The days need not be
consecutive.

D. Limitation

We will pay for loss of animals only if they are
killed or their destruction is made necessary.

E. Definitions

“Fungus" means any type or form of fungus, in-
cluding moid or mildew, and any mycotoxins,
spores, scents or by-products produced or re-
leased by fungi.

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POLICY NUMBER:FCI 005 3063 INTERLINE

IL 04 15 04 98

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

PROTECTIVE SAFEGUARDS

This endorsement modifies insurance provided under the following:

COMMERCIAL PROPERTY COVERAGE PART
FARM COVERAGE PART

SCHEDULE*
Prem. Bldg. Protective Safequards
No. No. Symbols Applicable
2 i P-3

Describe any "P-9": Warrant: Locked & Secured, property gated and fenced, 24 hour armed security

Declarations.

* Information required to complete this Schedule, if not shown on this endorsement, will be shown in the

A. The following is added to the: (2) Ducts, pipes, valves and fittings:
Commercial Property Conditions

General Conditions in the

Farm Property — Other Farm
Provisions Form — Additional Coverages,
Conditions, Definitions
General Conditions in the Mobile Agricultural
Machinery and Equipment Coverage Form
General Conditions in the Livestock Coverage

Form

PROTECTIVE SAFEGUARDS

41. Asa condition of this insurance, you are
required to maintain the protective devices
or services listed in the Schedule above.

2, The protective safeguards to which this
endorsement applies are identified by the

following symbols:

"P41" Automatic Sprinkler System,
including related supervisory

services.

Automatic Sprinkler System means:

a. Any automatic fire protective or
extinguishing system, inciuding

connected:

(1) Sprinklers and discharge nozzles,

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b.

“pi2"

n p-4"

"p.g"

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(3) Tanks, their component parts and
supports; and

(4) Pumps and private fire protection
mains.

When supplied from an automatic
fire protective system:

(1) Non-automatic fire protective
systems; and

(2) Hydrants, standpipes and outists.

Automatic Fire Alarm, protecting
the entire building, that is:

Connected to a central station; or

Reporting to a public or private fire
alarm station.

Security Service, with a recording
system or watch clock, making
hourly rounds covering the entire
building, when the premises are not
in actual operation.

Service Contract with a privately
owned fire department providing fire
protection service to the described
premises.

The protective system described in
the Schedule.

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B. The following is added to the EXCLUSIONS We will not pay for loss or damage caused by
section of: or resulting from fire if, prior to the fire, you:
CAUSES OF LOSS - BASIC FORM 4. Knew of any suspension or impairment in
CAUSES OF LOSS ~ BROAD FORM any protective safeguard listed in the
CAUSES OF LOSS - SPECIAL FORM Schedule above and failed to notify us of
MORTGAGE HOLDERS ERRORS AND that fact; or
OMISSIONS COVERAGE FORM 2. Failed to maintain any protective safeguard

STANDARD PROPERTY POLICY
CAUSES OF LOSS FORM — FARM PROPERTY

listed in the Schedule above, and over
which you had control, in complete working

MOBILE AGRICULTURAL MACHINERY AND order.

EQUIPMENT COVERAGE FORM
LIVESTOCK COVERAGE FORM

IL 04 15 04 98

lf part of an Automatic Sprinkler System is shut
off due to breakage, leakage, freezing
conditions or opening of sprinkler heads,
notification to us will not be necessary if you
can restore full protection within 48 hours.

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POLICY NUMBER:FCI 005 3063 COMMERCIAL PROPERTY

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

VACANCY PERMIT

This endorsement modifies insurance pravided under the following:

BUILDING AND PERSONAL PROPERTY COVERAGE FORM
CONDOMINIUM ASSOCIATION COVERAGE FORM
CONDOMINIUM COMMERCIAL UNIT-OWNERS COVERAGE FORM
STANDARD PROPERTY POLICY

SCHEDULE
Prem. Bldg. Excepted Causes of Loss Permit Period
No. No. Vandalism Sprinkler Leakage From To
2 1 10/09/2009 5/01/2010

A. The VACANCY Loss Condition does not apply to direct physical loss or damage:
1. Atthe locations; and
2. During the Permit Period;
shown in the Schedule or in the Declarations.

B. This Vacancy Permit does not apply to the Excepted Causes of Loss indicated in the Declarations or by an
"X" in the Schedule.

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